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    8
    9                     UNITED STATES DISTRICT COURT
                         CENTRAL DISTRICT OF CALIFORNIA
  10
  11 KAYLA BLACKSHER, Individually and
     on Behalf of All Others Similarly Situated,   Case No.
  12
                              Plaintiff,
  13
          v.                                       SECURITIES CLASS ACTION
  14                                               COMPLAINT
     SAFEMOON LLC, SAFEMOON US,
  15 LLC, SAFEMOON CONNECT, LLC,
     TANO LLC, SAFEMOON LTD,                       DEMAND FOR JURY TRIAL
  16 SAFEMOON PROTOCOL LTD,
     SAFEMOON MEDIA GROUP LTD,
  17 BRADEN JOHN KARONY, JACK
     HAINES-DAVIES, RYAN ARRIAGA,
  18 SHAUN WITRIOL, HENRY “HANK”
     WYATT, THOMAS SMITH, KYLE
  19 NAGY, JAKE PAUL, NICK CARTER,
     DeANDRE CORTEZ WAY, BEN
  20 PHILLIPS, MILES PARKS McCOLLUM,
     and DANIEL M. KEEM,
  21
                              Defendants.
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    1        Plaintiff Kayla Blacksher (“Plaintiff”), individually and on behalf of all others
    2 similarly situated, brings this Securities Class Action Complaint (“Complaint”)
    3 against Defendants SafeMoon LLC, SafeMoon US, LLC, SafeMoon Connect, LLC,
    4 Tano LLC, SafeMoon LTD, SafeMoon Protocol LTD, and SafeMoon Media Group
    5 LTD (collectively, “SafeMoon” or the “Company”), Jake Paul, Nick Carter,
    6 DeAndre Cortez Way, Ben Phillips, Miles Parks McCollum, and Daniel M. Keem
    7 (the “Promoter Defendants”), and Individual Defendants Shaun Witriol, Ryan
    8 Arriaga, Jack Haines-Davies, Henry “Hank” Wyatt, Thomas Smith, Kyle Nagy, and
    9 the Company’s Chief Executive Officer, Braden John Karony (together with the
  10 Promotor Defendants and SafeMoon, the “Defendants”). The following allegations
  11 are based upon personal knowledge as to Plaintiff’s own facts, upon investigation
  12 by Plaintiff’s counsel, and upon information and belief where facts are solely in
  13 possession of Defendants.
  14                               NATURE OF THE CASE
  15         1.    Plaintiff brings this action on behalf of all investors who purchased
  16 SafeMoon tokens (“SAFEMOON Tokens”) between March 8, 2021 and the time of
  17 filing this Complaint, and were damaged thereby.
  18         2.    This case arises from a scheme among various unscrupulous
  19 individuals in the cryptocurrency sector to misleadingly promote and sell the digital
  20 asset associated with SafeMoon (the SAFEMOON Tokens) to unsuspecting
  21 investors.     The Company’s executives, collaborating with several celebrity
  22 promotors, (a) made false or misleading statements to investors about SafeMoon
  23 through social media advertisements and other promotional activities, and
  24 (b) disguised their control over SafeMoon and a significant percent of the
  25 SAFEMOON Tokens that were available for public trading during the Class Period
  26 (the “Float”).
  27         3.    In furtherance of this scheme, Defendants touted the technological
  28 innovation of the Company’s token and related cryptocurrency wallet, as well as the
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    1 ability for investors to make significant returns due to the favorable “tokenomics”
    2 of the SAFEMOON Tokens. In truth, Defendants marketed the SAFEMOON
    3 Tokens to investors so that they could sell their portion of the Float for a profit.
    4         4.    Defendants’ strategy was a success. The misleading promotions and
    5 celebrity endorsements were able to artificially increase the interest in and price of
    6 the SAFEMOON Tokens during the Class Period, causing investors to purchase
    7 these losing investments at inflated prices. Meanwhile, the Company’s executives,
    8 Karony and Haines-Davies, conspired with the Promoter Defendants to sell their
    9 SAFEMOON Tokens to investors for a profit.
  10          5.    Plaintiff brings this class action on behalf of herself and an objectively
  11 identifiable class consisting of all investors who purchased SafeMoon’s
  12 SAFEMOON Tokens between March 8, 2021 and the time of filing this Complaint.
  13                                         PARTIES
  14          Plaintiff
  15          6.    Plaintiff Kayla Blacksher is a resident and citizen of Texas, living in
  16 Vidor, Texas. Plaintiff purchased SAFEMOON Tokens and suffered investment
  17 losses as a result of Defendants’ conduct.
  18          Defendants
  19          7.    Defendant SafeMoon LLC is a privately held company with its
  20 headquarters located at 364 N 500 E, Provo, UT 84606.
  21          8.    Defendant SafeMoon US, LLC is a privately held company with its
  22 headquarters located at 1022 W 2200 N. Pleasant Grove, UT 84062.
  23          9.    Defendant SafeMoon Connect, LLC is a privately held company with
  24 its headquarters located at 1022 W 2200 N. Pleasant Grove, UT 84062.
  25          10.   Defendant Tano LLC is a privately held company with its headquarters
  26 located at 1022 W 2200 N. Pleasant Grove, UT 84062.
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    1        11.    Defendant SafeMoon LTD is a privately held company that was
    2 incorporated on April 8, 2021, with its headquarters located at 20-22, Wenlock Road,
    3 London, England, N1 7GU.1
    4        12.    Defendant SafeMoon Protocol LTD is a privately held company, that
    5 was incorporated on April 8, 2021 with its headquarters located at 20-22, Wenlock
    6 Road, London, England, N1 7GU.
    7        13.    Defendant SafeMoon Media Group LTD is a privately held company,
    8 that was incorporated on June 28, 2021, with its headquarters located at The Terrace
    9 5th Floor, 76 Wardour Street, London, United Kingdom, W1F 0UR.
  10         14.    Defendant Braden John Karony (“Karony”) is a resident and citizen of
  11 Utah, living in Provo, Utah. Karony serves as the Company’s CEO, and he exercised
  12 control over SafeMoon and directed and/or authorized, directly or indirectly, the sale
  13 and/or solicitations of SAFEMOON Tokens to the public.
  14         15.    Defendant Jack Haines-Davies (“Haines-Davies”) is a resident and
  15 citizen of the United Kingdom, living in London, England. Haines-Davies serves as
  16 the Company’s Chief Operating Officer (“COO”).
  17         16.    Defendant Ryan Arriaga (“Arriaga”) is a resident and citizen of
  18 California, living in Elk Grove, California. Arriaga has served as the Company
  19 Global Head of Products since July 2021.
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        1
            The only listed director and shareholder for the SafeMoon entities in the
  22 United Kingdom is an Italian national, Castiliano Foini. Publicly available
     information about Foini and the UK entities is limited. However, a search of the
  23 UK’s government’s company information website indicates that a now-dissolved
     privately held company, Target Company Development Ltd (Company #
  24 12420163), was located at the same address as the SafeMoon UK entities. Notably,
     that company’s only director and shareholder was Braden John Karony’s mother,
  25 Jennifer Diane Karony (“Mrs. Karony). Similarly, according to bankruptcy filings
     submitted by Mrs. Karony and her husband (Karony’s father, Bradford J. Karony)
  26 in 2013, the Karony family home is listed as 364 N. 500 East Provo, UT 84606. See
     Summary of Schedules – Amended, Schedule C – Property Claimed, Karony, 13-
  27 13777-BFK (E.D. Va. Oct. 8, 2012). This is the same address for the SafeMoon
     LLC entity. Upon information and belief, Karony, with the aid of his parents, set up
  28 the Company’s corporate structure in a purposefully complex manner to hide the
     ownership interests in the various SafeMoon-affiliated entities in the U.S. and UK.
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    1         17.   Defendant Shaun Witriol (“Witriol”) is a resident and citizen of
    2 California, living in San Diego, California. Witriol served as a representative for the
    3 Company.
    4         18.   Defendant Henry “Hank” Wyatt (“Wyatt”) is a resident and citizen of
    5 Pennsylvania, living in Shippensburg, Pennsylvania.            Wyatt served as the
    6 Company’s Chief Technology Officer and Vice President of Research and
    7 Development.
    8         19.   Defendant Kyle Nagy (“Nagy”) is a resident and citizen of Florida,
    9 living in Vero Beach, Florida. Nagy was the founder of the Company and served as
  10 lead developer of the SAFEMOON Token.
  11          20.   Defendant Thomas Smith (“Smith”) is a resident and citizen of New
  12 Hampshire, living in Conway, New Hampshire. Smith served as the Company’s
  13 Chief Blockchain Officer.
  14          21.   Defendants Karony, Nagy, Smith, Haines-Davies, Arriaga, and Witriol,
  15 and Wyatt are collectively referred to as the “Executive Defendants.”
  16          22.   Defendant Jake Paul (“Paul”) is a resident and citizen of California,
  17 living in Calabasas, California. Paul acted as a promotor for the Company and the
  18 SAFEMOON Tokens.
  19          23.   Defendant Nick Carter (“Carter”) is a resident and citizen of Nevada,
  20 living in Las Vegas, Nevada. Carter acted as a promotor for the Company and the
  21 SAFEMOON Tokens.
  22          24.   Defendant DeAndre “Souja Boy” Cortez Way (“Way”) is a resident and
  23 citizen of California, living in Bell Canyon, California. Way acted as a promotor for
  24 SafeMoon and the SAFEMOON Tokens.
  25          25.   Defendant Ben Phillips (“Phillips”) is a resident and citizen of the
  26 United Kingdom, living in Wales, United Kingdom. Phillips acted as a promotor
  27 for the Company and the SAFEMOON Tokens.
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    1        26.    Defendant Miles “Lil Yachty” Parks McCollum (“McCollum”) is a
    2 resident and citizen of Georgia, living in Smyrna, Georgia. McCollum acted as a
    3 promotor for the Company and the SAFEMOON Tokens.
    4        27.    Defendant Daniel M. Keem (“Keem”) is a resident and citizen of New
    5 York, living in Buffalo, New York. Keem acted as a promotor for the Company and
    6 the SAFEMOON Tokens.
    7        28.    Defendants Paul, Carter, Way, Phillips, McCollum, and Keem are
    8 collectively referred to as the “Promotor Defendants.”
    9                             JURISDICTION AND VENUE
  10         29.    The Court has jurisdiction over the subject matter of this action
  11 pursuant to §27 of the Exchange Act, 15 USC §78aa, §22 of the Securities Act, 15
  12 U.S.C. §77(v), and 28 U.S.C. §1331. This Court has supplemental jurisdiction over
  13 the state law claims pursuant to 28 U.S.C. §1367.
  14         30.    This Court may exercise jurisdiction over Defendants because they
  15 have continuous and systematic contacts with this District, do substantial business
  16 in this State and within this District, and engage in unlawful practices in this District
  17 as described in this Complaint, so as to subject themselves to personal jurisdiction
  18 in this District, thus rendering the exercise of jurisdiction by this Court proper and
  19 necessary.
  20         31.    Venue is proper in this judicial District pursuant to 28 U.S.C. §1391(b)
  21 because certain Defendants live and/or conduct business in this District, therefore, a
  22 substantial part of the events or omissions giving rise to the claims alleged herein
  23 occurred in this District.
  24                              FACTUAL ALLEGATIONS
  25         SafeMoon Background
  26         32.    The SAFEMOON Token is a speculative digital token created in March
  27 2021 by a group of cryptocurrency developers and investors, including, but not
  28 limited to, the Executive Defendants.
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    1        33.    A “token” is a financial product that is contractually based (via a
    2 “smart” contract) and is created and uploaded permanently to a given blockchain.2
    3 When investors purchase these products/contracts on a given blockchain, their
    4 expectation is that the general buying, selling, and exchanging of these tokens will
    5 function according to the terms of the original smart contract and in a manner similar
    6 to other tokens on the same blockchain. Thus, when a token owner transfers assets
    7 from one wallet address to another new wallet address, on the same blockchain, the
    8 owner reasonably expects that those assets will actually be transferred to the new
    9 wallet address. This expectation is much like an industry standard in that the same
  10 expectation applies to all current blockchains and tokens, not just the SafeMoon
  11 blockchain.
  12         34.    The SAFEMOON Tokens in particular are blockchain-based digital
  13 assets known as “BEP-20 tokens” that are created using the Binance Smart Chain
  14 mainnet blockchain. After a BEP-20 token is created, it can be traded, spent, or
  15 otherwise transacted with.
  16         35.    The name “SafeMoon” is derived from the phrase, “Safely To The
  17 Moon,” which suggests that the token is meant not to rise only but to rise safely.3
  18         36.    In the beginning of 2021, Nagy began working as primary developer
  19 (“dev”) of the SAFEMOON Tokens. Shortly thereafter, Nagy recruited another
  20 developer, Thomas (“Papa”) Smith, to assist in the development the SAFEMOON
  21 Tokens. Together, Nagy and Smith wrote the code for SafeMoon smart contract and
  22 Protocol Deployer wallet that eventually launched the digital asset, SAFEMOON
  23 Token. During this process, Nagy was able to disperse significant amounts of the
  24
  25    2
           A “blockchain” refers to a decentralized, digital database that stores
  26 transactions and other forms of data.
     3
  27       Benjamin Godfrey, What is SafeMoon and can the crypto newcomer reach
     the moon?, FORKAST (Nov. 26, 2021), https://forkast.news/what-is-safemoon-
  28 crypto-can-it-reach-the-moon/.
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    1 SAFEMOON Tokens (worth hundreds of millions of dollars) to various undisclosed
    2 wallets under his or Smith’s control.4
    3         37.   Nagy and Smith eventually met with Karony and Haines-Davies to
    4 discuss a partnership for the sale of the SAFEMOON Tokens. Nagy and Smith
    5 would continue to work as the developers of the SAFEMOON Tokens, while Karony
    6 and Haines-Davies would operate as the fledgling company’s management and
    7 marketing team. Smith was also tasked with using his public profile to market the
    8 SAFEMOON Tokens. Nagy, however, purposefully chose to hide his identity,
    9 operating publicly under the handle of “SafeMoonDev” instead.
  10          38.   In the early days of the Company’s formation in March 2021, Karony
  11 held a meeting with Witriol wherein Witriol indicated his interest in being a part of
  12 the SafeMoon team. According to Witriol, at the end of the meeting, Karony
  13 welcomed him onto the SafeMoon team, saying “You’re in.”5
  14          39.   Witriol also publicly stated that he has been a part of SafeMoon since
  15 “day one or day two.”6 According to Karony, “There’s individuals who took the risk
  16 early on and acquired SAFEMOON Tokens and now they are reaping their benefit .
  17 . . it’s kinda like with Apple in the early days.”7
  18          40.   The Company’s “core” team consisted of Karony, as the CEO; Haines-
  19 Davies, as the COO; Wyatt, as the CTO; Smith, as the Chief Blockchain Officer;
  20
  21    4
               These wallets are a part of a larger interconnected web of cryptocurrency
        wallets that repeatedly interact with one another. Upon information and belief,
  22    Nagy’s deployer wallet is at the center of this web, and he transferred millions of
        dollars-worth of SAFEMOON Tokens from his deployer wallet to these undisclosed
  23    wallets, for the purpose of selling the SAFEMOON Tokens later, as a part of the
        scheme alleged herein. See https://miro.com/app/board/o9J_lx5kv5k=/?MoveTo
  24    Widget=3074457363957861693&cot=14.
        5
  25           Witriol, SafeMoon LIVE: Shaun Witriol ON BLOCKCHAIN, FUTURE,
        PRICE, AND MORE!, YouTube (June 5, 2021), https://www.youtube.com/watch?
  26    v=HBiY2SIQCqw.
        6
               Id.
  27    7
               FBI ties and Ponzi games – here’s what SafeMoon doesn’t want you to know,
  28    PROTOS (May 19, 2021), https://protos.com/safemoon-fbi-ties-ponzi-games-crypto-
        protocol-dave-portnoy-shill/.
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    1 Trevor Church, the Community Manager; Witriol, as a part of the online marketing
    2 team (also with Smith and Haines-Davies); and Jacob Smith, as another developer.8
    3        41.     On March 8, 2021, the Executive Defendants launched the
    4 SAFEMOON Tokens with a transaction volume of $149,427 and a price of
    5 $0.0000000004, according to data from CoinMarketCap.
    6        42.     “SafeMoon deployed with 1 quadrillion tokens (15 zeroes) and
    7 perpetually burns supply, alluding to rising scarcity. . . . [As of May 19, 2021],
    8 there’s roughly 584 trillion SAFE in circulation (after 223 trillion went to “devs”),
    9 which means it’s currently burning 2.9 trillion [SAFEMOON Tokens] per day on
  10 average.”9
  11         43.     SAFEMOON Tokens were first made available to investors on a
  12 decentralized cryptocurrency exchange, PancakeSwap.
  13         44.     At the time of launch, and throughout the Class Period, the
  14 SAFEMOON Tokens were sold pursuant to a three-page “whitepaper” titled,
  15 “SafeMoon: A Deflationary Reflection Token with Automated Liquidity
  16 Acquisition.”10 Whitepapers in cryptocurrency are documents released by the
  17 founders of the project that are supposed to give investors technical information
  18 about its concept, and a roadmap for how it plans to grow and succeed, serving
  19 essentially the same purpose as a registration statement.
  20         45.     The SafeMoon whitepaper described, among other things, how the
  21 favorable “tokenomics” for SAFEMOON Tokens “may afford far superior benefits”
  22 to investors.
  23         46.     First, the Company outlined its goal to “solve the problems of prior
  24 cryptocurrencies including mining rewards, farming rewards, and liquidity
  25
  26    8
            Altcoin Overview: What is SafeMoon? And is it Actually a Safe Investment?,
     MINTDICE (Nov. 11, 2021), https://mintdice.medium.com/altcoin-overview-what-
  27 is-safemoon-and-is-it-actually-a-safe-investment-a8e23ea27b2c.
     9
  28        Id.
     10
            https://safemoon.net/whitepaper.pdf (last visited Feb. 28, 2022).
                                              8
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     1 provisioning” by providing “an easy alternative to mining rewards” in the form of
     2 “allowing users to participate in a smart contract token reflection to produce tokens
     3 inside their own wallet.” Additionally, the Company pointed to the challenge of
     4 “maintain[ing] liquidity on decentralized exchanges” and proposed “utilizing a
     5 smart contract function to automatically capture liquidity to be used on the
     6 decentralized exchanges and held in custody independent from user possession.”
     7        47.    Finally, the SafeMoon whitepaper makes the following statements
     8 about the burn of the SAFEMOON Tokens:
     9        [A] smart contract that provides the capability to burn tokens can
   10         promote scarcity by reducing the total supply.            Together, the
   11         combination of these tokenomics may afford far superior benefits for
   12         the community within the decentralized venue.            Allowing these
   13         functions to be amplified and dependent on volume provides an ideal
   14         incentive to expedite adoption and foster new use cases. . . .
   15                                       *   *     *
   16         In a decentralized smart chain environment, contract functions can be
   17         utilized to achieve token scarcity.      To do this, we propose also
   18         distributing rewards to the burn address, which is publicly verifiable for
   19         all participants to see. We can then track the depreciating supply in
   20         real-time for added transparency. In our effort to establish a baseline
   21         token burn rate, we find that these values are dependent on three
   22         important factors: reflection rate, token quantity, and market volume.
   23         The rate of reflection rewards is proportional to the total supply in each
   24         holder’s wallet address. 11
   25         48.    In plain terms, the Company’s purported purposes are the same as any
   26 other company trying to sell its financial products to investors: offer dividend-like
   27
   28    11
              Id.
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     1 “reflection” rewards for investors that hold the SAFEMOON Tokens (holders are
     2 charged a transaction fee of about 5%, which is distributed among the SAFEMOON
     3 Token holders); ensure that there is enough liquidity for SAFEMOON Tokens to be
     4 traded on exchanges; and minimize dilution of the Company’s market cap.
     5 Furthermore, like other decentralized finance projects, the Company depends on:
     6        a liquidity pool to encourage holders to “stake” tokens to acquire more
     7        — similar to a bond that matures, but with a volatile crypto. What
     8        SafeMoon claims to do differently is distribute what it calls “static
     9        rewards” to its now 2 million holders. Static rewards push to alleviate
   10         downward sell pressure from earlier adopters, who are inclined to dump
   11         their tokens once yield falls. SafeMoon’s static rewards are, more or
   12         less, a system that penalizes buyers for anything but holding their
   13         tokens. Anyone that sends SafeMoon to another wallet is “charged” a
   14         10% fee — half is burned and the rest given to other holders.12
   15         49.   On the Company’s website, there is a “buying guide” section that shows
   16 investors how to purchase the SAFEMOON Tokens in four steps. Notably, only
   17 steps one to three have actual instructions on the mechanics of acquiring
   18 SAFEMOON Tokens. Step four in its entirety states: “HODL! All that’s left now is
   19 to HODL and see your balance grow from reflections!”13
   20         The Pump – Defendants Lure Investors in with Misleading Promotions
   21         50.   The Executive Defendants actively recruited and retained the Promoter
   22 Defendants to serve as the promotors of the SAFEMOON Tokens in March 2021
   23 and beyond.
   24         51.   As observed in the article FBI ties and Ponzi games – here’s what
   25 SafeMoon doesn’t want you to know:
   26
   27
         12
              See fn.7, supra.
   28    13
              https://safemoon.net/buy (last visited Feb. 28 2022).
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     1        SafeMoon embodies meme token hype better than almost any crypto in
     2        history. In just two months, SafeMoon has engineered $4 billion
     3        market value inflated by influencers like Jake Paul, [and] Soulja Boy.
     4        . . . But what SafeMoon resembles most is the crypto-powered Ponzi
     5        games once popular on Ethereum, like Proof-of-Weak Hands 3D
     6        (PoWH3D).
     7                                 *     *       *
     8        These games — which are now bleeding into the Binance Smart Chain
     9        ecosystem — are designed to mimic real-life Ponzi schemes. And so,
   10         just like the Ethereum-based Ponzi games that came before it — the
   11         earliest to buy SafeMoon hypothetically stands to make the most profit
   12         — but only if they can lure enough players to follow suit.14
   13         52.   As discussed further below, the Company and the Executive
   14 Defendants repeatedly touted the “burn” and “tokenomics” of the SAFEMOON
   15 Tokens, as part of their marketing strategy.
   16         53.   In fact, the fourth point in the SafeMoon whitepaper is dedicated to
   17 “Depreciating Supply & Burn Address.” The opening line of that section states: “In
   18 a decentralized smart chain environment, contract functions can be utilized to
   19 achieve token scarcity.”15
   20         54.   “SafeMoon’s supply gimmick is integral to its value proposition:
   21 scarcity inflates as supply deflates, which implies value.”16 However, the price of
   22 the SAFEMOON Tokens is “determined by market demand – exactly what makes
   23 celebrity endorsements so critical to SafeMoon’s success.”17
   24
   25
   26    14
              See fn.7, supra.
         15
   27         See fn.10, supra.
         16
              See fn.7, supra.
   28    17
              Id.
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     1        55.   Upon information and belief, all of the Promoter Defendants received
     2 SAFEMOON Tokens and/or other forms of consideration as part or all of their
     3 compensation for promoting SafeMoon.
     4        56.   For example, a combined search of the Binance Blockchain Explorer
     5 (“BSCscan”),18 the Ethereum Blockchain Explorer (“Etherscan”),19 and the non-
     6 fungible token marketplace OpenSea shows that a wallet owned and controlled by
     7 Paul received approximately 50 billion SAFEMOON Tokens on March 26, 2021.
     8        57.   In particular, a wallet owned and/or constrolled by the SafeMoon
     9 deployer transferred 50.4 Billion SafeMoon to wallet address 0x4b7d7b on March
   10 26, 2021. The price of the tokens were approximately $0.0000003951 at the time.
   11         58.   The following day, March 27, 2021, Paul (as discussed further below)
   12 posted a SafeMoon promotion to his personal Twitter account. Paul promoted
   13 SafeMoon at least three more times between April and May. Notably, in Paul’s May
   14 16, 2021 post promoting SafeMoon, he also mentions a new cryptocurrency he was
   15 promoting at the time: Yummy coin.
   16         59.   On June 17, 2021, the 0x4b7d7b wallet used the decentralized exchange
   17 on the Binance Smart Chain, PancakeSwap, via a “Center.io” wallet, to swap over
   18 48 Billion SAFEMOON Tokens to $190,314.35 USDC. The difference between the
   19 50.4 billion SAFEMOON Tokens and the swapped 48 billion SAFEMOON Tokens
   20 is due the Company’s 10% tax since, unlike Karony, Paul’s wallet was not exempt
   21 from fees.
   22         60.   Four minutes later, the 0x4b7d7b wallet transferred the USDC to wallet
   23 address 0x28dfb. A search for the 0x28dfb address on the OpenSea marketplace
   24
   25
   26
   27    18
            BSCscan allows users to explore and search the Binance blockchain for
   28 transactions, wallet addresses, tokens, and prices.
      19
            Etherscan, does the same thing BSCscan except on the Ethereum blockchain.
                                                12
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     1 reveals that this wallet belongs to “Problem Child.” Paul is widely known by his
     2 “fight name,” Problem Child.20
     3        61.   On June 22, 2021, the Problem Child Wallet transferred 484,521.44
     4 USDC to wallet address 0x37a3549. A review of the transactions in that wallet
     5 shows that the 0x37a3549 wallet has no use other than to hold the USDC. All other
     6 transactions are simply random token “airdrops” into the 0x37a3549. In other
     7 words, the inflow and outflow of the sum of USDC is the 0x37a3549 wallet’s only
     8 purpose.
     9        62.   On January 4, 2022, the 0x37a3549 wallet transferred the totality of the
   10 USDC holding to an exchange wallet.
   11         63.   An examination of the other portion of the USDC in the 0x37a3549
   12 wallet ($484,521.44 total USDC – $190,314.35 paid for Paul’s SafeMoon
   13 promotions = $294.206.96 remaining) confirms that this wallet is under Paul’s
   14 ownership/control. Approximately, $294,000 was provided by a separate wallet to
   15 the Problem Child wallet. The providing wallet, 0x3eaea6, gained its USDC value
   16 via a series of three swaps of YUMMY tokens in Center.io. These swaps occurred
   17 between June 16, 2021 and June 17, 2021. The YUMMY tokens were received
   18 between May 13-15 in five transfers. Paul first tweeted about YUMMY on May 16,
   19 2021.21
   20         64.   These complicated transactions demonstrate a pattern by which Paul,
   21 and other promotors including the Promoter Defendants, are given tokens as a
   22 payment for promotions, they go out and post about the token on social media, then
   23 turn around and sell the tokens for profit as investors buy in. The entire purpose of
   24 this paid promotion is for pumping and dumping the token based on the value created
   25 by the Promoter Defendantss’ direct action.
   26
         20
   27       https://www.essentiallysports.com/boxing-news-jake-paul-boxing-nickname
      -why-is-he-called-the-problem-child/ (last visited Feb. 28, 2022).
   28 21    Paul (@jakepaul), Twitter (May 16, 2021), https://twitter.com/
      jakepaul/status/1393967703598194692?s=20&t=veoX77 c74MdN5qdv4CfGKg.
                                              13
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     1        65.    Each of the Promotor Defendants are sophisticated public figures with
     2 familiarity and experience with endorsement contracts. Upon information and
     3 belief, they all received a similar disbursement of tokens from the SafeMoon
     4 deployer wallet and cashed out shortly after making engaging in their promotional
     5 activities in a similar manner to Paul.
     6        66.    This is why Haines-Davies was a vital part of the Executive
     7 Defendants’ plan for marketing the SAFEMOON Tokens. Prior to joining the
     8 Company, Haines-Davies managed a UK-based YouTube celebrity, Ben Phillips,
     9 from 2017 until March 2021 (i.e., the month that the SAFEMOON Tokens
   10 launched). Upon information and belief, Haines-Davies leveraged the contacts and
   11 experience he gained from managing Phillips to recruit other celebrities to promote
   12 the SAFEMOON Tokens in exchange for a portion of the Float. Of course, Phillips
   13 was also recruited by Haines-Davies to act as a promoter of the SAFEMOON Token.
   14         67.    For example, on March 19, 2021, in a now-deleted post on his official
   15 Twitter account, Phillips feigned ignorance about SafeMoon (despite his manager
   16 Haines-Davies’ personal connection as SafeMoon’s COO) and asked his followers:
   17 “I keep seeing #SafeMoon everywhere anyone know about it? Is it gonna pop? Or
   18 . . . has it got Big #Doge energy.”22 Phillips did not disclose his connection to the
   19 Company but instead sought to convince investors that the “buzz” about SafeMoon
   20 was organically created as opposed to manufactured by Defendants themselves.
   21         68.    As the other Promoter Defendants were being recruited by Haines-
   22 Davies, the Company was making statements to investors about the “token burn” for
   23 SAFEMOON Tokens. In particular, on March 21, 2021, the Company released a
   24 statement via its official Twitter account, stating that 841,685,253,836 SAFEMOON
   25
   26
   27
         22
   28          See https://www.reddit.com/r/SafeMoon/comments/m8mjpk/safemoon            _
         tweet_by_ben_phillips_benphillipsuk/ (last visited Feb. 28, 2022).
                                                14
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     1 Tokens “have been burnt in the last 24 hours alone. That’s over 800 billion tokens
     2 permanently removed from the circulating supply!”23
     3        69.    Then on March 22, 2021, the Company announced that “over 1.1
     4 trillion tokens [were] permanently removed from the circulating supply” and that
     5 this amount of tokens were “burnt in the last 24 hours alone.”24
     6        70.    By stressing the “burn” of the SAFEMOON Token supply in a short
     7 period of time, Karony signaled to investors that the value of SAFEMOON Token
     8 would increase as more SAFEMOON Tokens are burned.
     9        71.    Karony endorsed the Company’s announcement on his personal Twitter
   10 account that same day.25
   11         72.    On March 23, 2021, Smith received a message from an investor, James
   12 “Ginger,” who was interested in joining the SafeMoon team as a moderator for the
   13 Company’s official Discord account. Smith introduced Ginger to the Company’s
   14 Community Manager, Trevor Grant, and brought Ginger on board.
   15         73.    Upon information and belief, around the same time, Wyatt, Ginger,
   16 Trevor Grant and other SafeMoon social media moderators had a live-streamed
   17 meeting on Discord. In a recording of this meeting that was previously available on
   18 YouTube, the group can be seen discussing how to hide their record logs and delete
   19 their message history on Discord. In particular, Grant advised the group that if they
   20 deleted their account “then it would take 30 days for it to just vanish from their
   21 servers.” The group then discusses whether or not their records would be subject to
   22 disclosure, and Wyatt states “I doubt a subpoena is gonna pull up your deleted
   23 messages.” One member of the group “x90” cautions the others that the Discord
   24
         23
   25        @SafeMoon 2.0          , Twitter (Mar. 21, 2021), https://t.co/pCeZQidEMi:
      “Burn baby burn.           .”
   26 24     @SafeMoon 2.0        , Twitter (Mar. 22, 2021), https://t.co/tZ1kvS2Xdw: “Not
      sure if this is what they meant when they said #SAFEMOON was fire . . . #Burna
   27 #DeFi #BSC.”
      25
   28         Re-tweet of id., by Karony: https://twitter.com/safemoon/status/
      1374045413834072070?cxt=HHwWjICtzcPBy5EmAAAA.
                                                15
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     1 server would likely still save the messages and more importantly “you also gotta be
     2 careful because if they believe you delete out of intent to, ya know, hide evidence,
     3 that’s at that point tampering with evidence.” Wyatt dismisses this warning and
     4 continues on: “No, if your deleting it before being subpoenaed, you’re not deleting
     5 evidence of anything. You’re just fucking deleting your messages. If he’s not
     6 subpoenaed, and he deleted it before being subpoenaed then he’s not hiding shit. . .
     7 he’s using a feature on the software that they offer to everybody. He’s allowed to
     8 delete whatever the fuck he wants.” Wyatt goes on to state: “The funny thing is . . .
     9 I can delete all my messages with Safemoon Dev [ask Nagy] and Thomas [Smith]
   10 up until piggy wasn’t a thing then I can just stop it. Which is what I’ll do.”
   11         74.    On March 25, 2021, on the SafeMoon official Reddit page, a previously
   12 recorded live stream AMA with Phillips was posted. In that AMA, Phillips touts the
   13 growth of the SafeMoon community and favorably compares the SAFEMOON
   14 Tokens to other hot cryptocurrencies like Dogecoin.26 At the end of the clip, Phillips
   15 is “welcomed” to “the team” by Karony and Smith, and SafeMoon Community
   16 Manager, Trevor Church.27
   17         75.    That same day in a now deleted post28 on Twitter, Phillips promoted the
   18 SAFEMOON Tokens to his millions of followers:
   19
   20
   21
   22
   23
   24
        26
   25        A.M.A NEWS‼ Ben Phillips has been added to the SAFEMOON team. So
      much great news in this live stream. UPVOTE TO SHOW HIM SOME LOVE:
   26 SafeMoon, REDDIT (Mar. 25, 2021), https://www.reddit.com/r/SafeMoon/
      comments/md6gew/ama_news_ben_phillips_has_been_added_to_the/.
   27 27     Id.
      28
   28        This post was captured in the FBI Ties and Ponzi Games article. See fn.7,
      supra.
                                             16
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     1        76.   On March 27, 2021, social media influencer and boxer, Paul, published
     2 the following post29 promoting SAFEMOON to his 4.1 million Twitter followers:
     3
     4
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     6
     7
     8
     9
   10
   11
   12         77.   That same day, Karony and Smith also republished the aforementioned
   13 Paul post on their personal Twitter accounts.30
   14         78.   On March 29, 2021, musician, Miles “Lil Yachty” Parks McCollum,
   15 promoted SAFEMOON in a tweet that stated “#safemoonisthenewdogecoin.”31 At
   16 the time, the referenced cryptocurrency token (Dogecoin) had a massive increase in
   17 the price of that token. McCollum compared SAFEMOON Tokens to this other hot
   18 cryptocurrency in order to mislead investors into believing that SAFEMOON would
   19 similarly increase in price.
   20         79.   Notably, Paul publicly endorsed McCollum’s statement about the
   21 SAFEMOON Token’s expected price increase by tweeting out “factssss” as a reply
   22
   23
   24
   25
         29
   26        Paul (@jakepaul), Twitter (Mar. 27, 2021), https://t.co/r9DCQG0pmQ:
      “Everyone needs #SAFEMOON or this will be you      .”
   27 30
             Id.
      31
   28        McCollum (@lilyachty), Twitter (Mar. 29, 2021), https://twitter.com/
      lilyachty/status/1376669875918286848: #safemoonisthenewdogecoin     .”
                                           17
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     1 to McCollum’s SafeMoon promotion.32 The SafeMoon twitter account also replied
     2 positively to McCollum’s post.33
     3         80.   Likewise, Karony and Smith also promoted McCollum’s post on their
     4 personal Twitter accounts on March 29, 2021.34
     5         81.   Two days later, on March 31, 2021, McCollum continued his
     6 promotional activities for SafeMoon, repeating “#SAFEMOON” on this Twitter
     7 account.35 Once again, Karony and Smith endorsed McCollum’s March 31, 2021
     8 tweet on their personal Twitter accounts.36
     9         82.   That same day, Karony offered “Congrats to the winners!
   10 #SAFEMOON” in reply to a now-deleted Twitter post from Ben Phillips.37
   11          83.   Also on March 31, 2021, both the official SafeMoon Twitter account
   12 and Karony’s personal Twitter account promoted a post with a picture suggesting
   13 that SAFEMOON Tokens were going up in price with the caption indicating that
   14 this rise was “IMMINENT.”38
   15
   16
   17
         32
   18           Paul (@jakepaul), Twitter (Mar. 29, 2021), https://twitter.com/jakepaul/
         status/1376690168875339780: “@lilyachty factssss.”
   19    33
                @SafeMoon 2.0         , Twitter (Mar. 29, 2021), https://t.co/ 8SnqxKmuj7:
         “@jakepaul @lilyachty.”
   20    34
                Karony (@CptHodl), Twitter (Mar. 29, 2021), https://twitter.com/CptHodl/
   21    status/1376676389676519435?cxt=HHwWlsCwlb3495omAAAA: “Hey Hey!”;
         McCollum (@lilyachty), Twitter (Mar. 29, 2021), https://twitter.com/lilyachty/
   22    status/1376669875918286848?s=20&t=ag5TXmcQakZZcLhD4-Kn_w:
         “#safemoonisthenewdogecoin.”
   23    35
                See, e.g., McCollum (@lilyachty), Twitter (Mar. 31, 2021), https://
         twitter.com/lilyachty/status/1377293537264418818:                     “#SAFEMOON
   24    #SAFEMOON #SAFEMOON.”
         36
   25           McCollum (@lilyachty), Twitter (Mar. 31, 2021), https://twitter.com/
         lilyachty/status/1377293537264418818?s=20&t=ag5TXmcQakZZcLhD4-Kn_w:
   26    “#SAFEMOON #SAFEMOON #SAFEMOON.”
         37
                Karony (@CptHodl), Twitter (Mar. 31, 2021), https://twitter.com/CptHodl/
   27    status/1377401899050098688: “Congrats to the winners! #SAFEMOON.”
         38
   28           See @SafeMoon 2.0        , Twitter (Mar. 31, 2021), https://t.co/iSYlX4vdCA:
         ““IMMINENT” #SAFEMOOM                .”
                                                   18
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     1         84.   On April 2, 2021, McCollum again promoted SafeMoon to retail
     2 investors, stating in a Twitter post: “I told y’all safe moon was going up lol.”39
     3         85.   That same day, Smith re-tweeted a SafeMoon promotion from
     4 YouTube influencer, Keemstar (i.e., Defendant Keem).40
     5         86.   On April 3, 2021, SafeMoon announced on its Facebook page that it
     6 had “got” several celebrity promotors to work with the Company, including Paul and
     7 McCollum.41
     8         87.   That same day, the Company announced that 396 trillion SAFEMOON
     9 Tokens were “burnt” and “gone.”42 Karony reposted the token announcement on his
   10 personal Twitter account and noted in the caption that the supply of SAFEMOON
   11 Tokens would receive “continual burns” and that the price of the SAFEMOON
   12 Tokens was at an all-time high (“ATH”) and would be going to the “moon”
   13 imminently.43 In an apparent attempt to provide some type of disclaimer to these
   14 statements, Karony, in closing, stated: “Not financial advice, you do you.”44
   15          88.   On April 4, 2021, the Company published the “Safemoon Road Map”
   16 for all four quarters of 2021 as four separate posts on its account on the social media
   17 platform, Instagram. These road maps for each quarter gave investors a false
   18 impression of the Company’s future prospects.
   19
         39
             McCollum (@lilyachty), Twitter (Apr. 2, 2021), https://twitter.com/lilyachty/
   20 status/1378051154416963586?lang=en: “I told y’all safe moon was goin up lol.”
      40
   21      Keem (@KEEMSTAR), Twitter (Apr. 1, 2021), https://twitter.com/
      KEEMSTAR/status/1377848102162468864?s=20&t=ag5TXmcQakZZcLhD4-
   22 Kn_w.
      41
             SafeMoon (@SafeMoonOfficial), Facebook (Apr. 3, 2021), https://
   23 www.facebook.com/101527008681710/posts/so-we-got-jake-paul-lil-yachty-
      keemstar-ben-phillips-and-tenille-dashwood-anyone/118723846962026/: “So we
   24 got Jake Paul, Lil Yachty, Keemstar, Ben Phillips . . . .”
      42
   25        @SafeMoon 2.0        , Twitter (Apr. 3, 2021), https://t.co/LJKCnIbrM8:
      “396,384,506,514,787 BURNT         GONE      #SAFEMOON.”
   26 43
             Karony (@CptHodl), Twitter (Apr. 3, 2021), https://twitter.com/
      CptHodl/status/1378383282832875523?cxt=HHwWhoC5md6SgKEmAAAA:
   27 “New ATH..Check. Continual burns..also check. Moon . . . #Imminent Not financial
      advice, you do you. #SafeMoon #FairLaunch #DeFi.”
   28 44
             Id.
                                             19
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     1        89.   The caption to the Company’s post about the first quarter’s successes
     2 bragged: “Q1 Complete . . . Cough . . . we the best . . . cough.”45 The post itself
     3 listed six accomplishments for Q1. Significantly, the Company stated that its
     4 “marketing campaign” had begun.46
     5        90.   In the post for the second quarter of 2021, there was a list of 16 action
     6 items that the Company was looking at for Q2.47 Most importantly, the Company
     7 stated that it intended to “complete” the SafeMoon wallet and “begin architecting”
     8 the SafeMoon exchange and related NFT exchange within the second quarter of
     9 2021.48
   10         91.   The post for the Company’s Instagram post providing details about the
   11 third quarter of 2021 included eight action items.49 One of those items stated:
   12 “Finish NFT Exchange.”50
   13         92.   The first bullet point for the Company’s post about the “SAFEMOON
   14 Road Map” for the fourth quarter of 2021 declared that the Company would “finish
   15 SafeMoon exchange.”51
   16         93.   In only nine days after the SafeMoon marketing campaign began in
   17 earnest, the promotion efforts of Paul and McCollum, along with those of the
   18 Company and Executive Defendants during the same time period, caused investors
   19
         45
   20          @safemoonhq, Instagram (Apr. 4, 2021), https://www.instagram.com/
         p/CNPShnjn03i/?utm_source=ig_web_copy_link: “Q1 COMPLETE. . . . Cough . ..
   21    we the best . . . cough #SAFEMOON           ”
         46
               Id.
   22    47
               @safemoonhq, Instagram (Apr. 4, 2021), https://www.instagram.com/
   23    p/CNPScNDHbkB/?utm_source=ig_web_copy_link: “Q2 Currently working on
         this! With your support anything possible.”
   24    48
               Id.
         49
   25          @safemoonhq, Instagram (Apr. 4, 2021), https://www.instagram.com/
         p/CNPSNJOn4oH/?utm_source=ig_web_copy_link: “Q3 Now where cooking.
   26              .”
         50
               Id.
   27    51
               @safemoonhq, Instagram (Apr. 4, 2021), https://www.instagram.com/
   28    p/CNPSJOLHKcC/?utm_source=ig_web_copy_link: “Q4 Who knows this might be
         merged into Q3           .”
                                                20
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     1 to purchase SAFEMOON Tokens in droves and drastically increased the trading
     2 volume over those days. For example, from March 27, 2021 to April 4, 2021, the
     3 trading volume leaped from $7 million to $68.7 million – a staggering 875%
     4 increase.
     5        94.    Over the next 10 days, the trading volume for the SAFEMOON Tokens
     6 began to die down. Despite the continued promotional activities by the Company
     7 and the Executive Defendants, the trading volume dropped from $43.9 million on
     8 April 5, 2021 to an interim low of only $8.9 million on April 15, 2021.
     9        95.    On April 7, 2021, the official SafeMoon Twitter account posted a video
   10 from Karony, wherein he provided an update “on all our progress.52 In particular,
   11 Karony stated that SafeMoon was in the middle of a two-part process of creating its
   12 own cryptocurrency exchange.         The first part would be the creation of a
   13 SAFEMOON wallet. Karony advised investors that the Company was working on
   14 a “designated wallet” which “would be a better place for you to hold your
   15 SAFEMOON [Tokens].”53 The second part would be for the Company to create the
   16 exchange itself. According to Karony, the Company’s developers were in the
   17 process of using the “most innovative” features for the exchange, including creating
   18 a sub-exchange for non-fungible tokens (“NFTs”).54
   19         96.    The following day, both the Company and Karony posted on social
   20 media that “400 TRILLION TOKENS BURNT GONE! NEVER COMING
   21 BACK.”55
   22
   23
         52
           @SafeMoon 2.0     , Twitter (Apr. 7, 2021), https://t.co/zB7NPJcfyx:
   24 “Update from our CEO @CptHodl as he talks over the next moves for
      #SAFEMOON future and current and touches on exciting projects in the works.
   25       .”
      53
   26      Id.
      54
           Id.
   27 55
           Karony (@CptHodl), Twitter (Apr. 8, 2021), https://t.co/yWNdDIMS3k:
   28 “400 Trillion! Wow #SAFEMOON #FairLaunch #DeFi”; “400 TRILLION
      TOKENS BURNT GONE! NEVER COMING BACK #SAFEMOON                          .”
                                        21
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     1        97.   On April 10, 2021, the Company’s Twitter account published the
     2 following post:56
     3
     4
     5
     6
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     8
     9        98.   Karony replied to the Company’s boastful post about how it planned to
   10 reveal SafeMoon’s “boldest innovation yet” with a single word reference to
   11 “Cryptonomics,” i.e., the SAFEMOON Token’s tokenomics.57
   12         99.   Apparently realizing that the Company’s ability to reach new and
   13 unsuspecting investors for the purpose of luring them into purchasing SAFEMOON
   14 Tokens was decreasing rapidly, the Executive Defendants went back to what worked
   15 previously: celebrity endorsements. In an effort to inflate trading volume back up
   16 again, and ultimately facilitate the sale of their portion of the Float, the Executive
   17 Defendants and the Company went on to recruit new celebrities to act as promoters
   18 for the SAFEMOON Tokens. These efforts were once again successful and would,
   19 in short order, exponentially increase the trading volume for the SAFEMOON
   20 Tokens.
   21         100. For example, on April 17, 2021, musician and producer, DeAndre
   22 “Souja Boy” Cortez Way, announced to his 5.4 million followers on Twitter that he
   23
   24
         56
             @SafeMoon 2.0       , Twitter (Apr. 10, 2021), https://twitter.com/safemoon/
   25 status/1380886849850376194: “Tomorrow we reveal quite possibly our boldest
      innovation yet. A lot of you know #SAFEMOON Exchange has been our vision
   26 since the beginning, so we invite you to join our CEO as he discusses why this may
      be one of the biggest moves within crypto space to date.”
   27 57
             Karony (@CptHodl), Twitter (Apr. 10, 2021), https://twitter.com/CptHodl/
   28 status/1380887019304411136?cxt=HHwWgICzybDb8qkmAAAA:
      ““Cryptonomics.””
                                               22
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     1 had a public address for SAFEMOON tokens. Way has a dubious history when it
     2 comes to is previous similar promotional activities.58
     3         101. That same day, musician and entertainer, Nick Carter, also used Twitter
     4 to promote SAFEMOON Tokens to prospective investors, disseminating a video of
     5 a rocket heading to the moon with the caption: “It’s time for blastoff
     6 #SAFEMOON.” Carter also photoshopped a picture of his face in the window of
     7 the rocket, implying to investors that he is onboard with the SafeMoon “rocket.” At
     8 the end of the video, it shows the number of SAFEMOON Tokens increasing from
     9 “500k holders” to “500,001 holders,” further indicating that Defendant Carter was
   10 personally invested in the future of SafeMoon.59
   11          102. On April 18, 2021, SafeMoon representative, Witriol, bragged about
   12 the Company’s marketing success (of which he was a key contributor) specifically
   13 in California. In particular, Witriol posted a screenshot indicating that the hashtag
   14 “#SAFEMOON” was “Trending in California” on Twitter with almost 99,000 posts.
   15 In the accompanying message, Witriol, among other statements promoting
   16 SAFEMOON Tokens in California, used the same misleading promotional phrase –
   17 “#safemoonisthenewdogecoin – that McCollum had previously used to promote the
   18 SAFEMOON Tokens. The entire message60 is as follows:
   19
   20
   21
   22    58
                 See, e.g., Tarply Hitt, Rapper Souja Boy Owns up to (Some of) His Wild
   23    Scams: ‘I Was Always Tricking People’, DAILY BEAST (Sept. 18, 2019),
         https://www.thedailybeast.com/rapper-soulja-boy-owns-up-to-some-of-his-wild-
   24    scams-i-was-always-tricking-people (detailing Way’s long history of misleading
         and “scamming” consumers).
   25    59
                 Carter (@nickcarter), Twitter (Apr. 17, 2021), https://t.co/qpglKmX4HF:
         “It’s time for blastoff    #SAFEMOON.”
   26    60
                 Witriol (@ShaunWitriol), Twitter (Apr. 18, 2021), https://t.co/CfuLibxpLe:
   27    “      #safemoon This is only in California! Let’s get this going across the     !
         Together we can do it all! You guys are amazing!                  #safemoonfamily
   28    #safemooncommunity #safemoonisthenewdogecoin #doge #bnb #binance #btc
         #bitcoin #cryptocurrency #usa #safemoonarmy.”
                                                  23
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     1
     2
     3
     4
     5
     6        103. On April 18, 2021, Carter promoted the hashtag, “#SAFEMOON,” on
     7 his Twitter account along with his song, “I’m Taking Off”61 – an allusion of a
     8 rocketship taking the price of the SAFEMOON Tokens to the proverbial “moon.”
     9 Smith reposted Carter’s promotion that same day:62
   10
   11
   12
   13
   14
   15         104. Two days later, on April 20, 2021, Way again promoted SafeMoon to
   16 his followers and potential investors on Twitter.63 Way did not disclose any financial
   17 relationship or promotional payments that he received from SafeMoon.
   18         105. On April 21, 2021, the Company itself joined in the promotion of
   19 SAFEMOON Tokens, posting the proclamation on Twitter:64
   20
   21
   22
   23
         61
         Carter (@nickcarter), Twitter (Apr. 18, 2021), https://twitter.com/nickcarter/
   24 status/1383826194886402060?s=20&t=ag5TXmcQakZZcLhD4-Kn_w.
      62
   25        Smith        (@papcthulu),       Twitter        (Apr.        18,       2021),
      https://twitter.com/papacthulu/with_replies?lang=en.
   26 63     Way (@souljaboy), Twitter (Apr. 19, 2021), https://twitter.com/souljaboy/
      status/1384095418376613893?lang=en: “Safemoon.”
   27 64
             @SafeMoon 2.0       , Twitter (Apr. 21, 2021), https://twitter.com/safemoon/
   28 status/1384759982831374337:     “Rome wasn’t built in a day, #SAFEMOON was.
          .”
                                              24
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     5        106. The Company also posted, and Haines-Davies reposted on his personal
     6 Twitter account, the following message65 downplaying the drop in the price of the
     7 SAFMOON Token from the preceding day and encouraging new retail investors to
     8 purchase SAFEMOON Tokens:
     9
   10
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   12
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   14
   15         107. On       April     22,    2021,     Witriol     again    promoted      the
   16 “#safemoonisthenewdogecoin” hashtag on his Twitter account, advising investors to
   17 not sell their SAFEMOON Tokens because the severe price drop that occurred that
   18 same day was “all a part of the process! Sit back and relax!”66 Witriol’s post then
   19 made reference to a 1990s rap song (with an attached clip of the music video for
   20 added emphasis) with a parody of the lyrics: “We #hodl they hatin’ patrolling, trying
   21 to catch me ridin’ dirty” in an apparent effort to (1) dismiss any legitimate criticisms
   22 of the Company or those involved in the project and (2) reassure investors and the
   23 “#SafeMoonCommunity” that the SAFEMOON Tokens were still a good
   24
         65
             @SafeMoon 2.0     , Twitter (Apr. 21, 2021), https://twitter.com/safemoon/
   25 status/1384897219137056780: “That wasn’t a dip today . . . we went back to earth
          for a bigger rocket      and more passengers       #SAFEMOON.”
   26 66
             Witriol (@ShaunWitriol), Twitter (Apr. 22, 2021), https://t.co/
   27 BcGzO7Vhwq:      “Hey #SAFEMOON It’s all a part of the process! Sit back and
      relax! “We #hodl they hatin’ patrolling, trying to catch me ridin’ dirty”
   28 #SafeMoonCommunity #safemoonarmy #safemoonisthenewdogecoin #BNB
      #BSC.”
                                             25
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     1 investment. The following is the post in its entirety (with a still shot of the GIF that
     2 Witriol attached to his post):67
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   17          108. The trading volume for the SAFEMOON Token exploded as a result of
   18 promotional activities of Way, Witriol, and Carter on Twitter and the Company’s
   19 announcements around the same time. On April 17, 2021, the volume reached $17.5
                                                                 68
   20 million – approximately 70% higher than the previous day. On April 18, 2021
   21 (i.e., the same day that Witriol made statements about SAFEMOON’s popularity in
   22 California specifically) the trading volume jumped another 36% up to $23.9
              69
   23 million.   Then on April 19th, that volume more than tripled, reaching $68.8
              70
   24 million. Over the following three days, the Company’s continued promotions
   25
   26    67
               Id.
         68
   27          https://coinmarketcap.com/currencies/safemoon/historical-data/.
         69
               Id.
   28    70
               Id.
                                               26
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     1 pushed the trading volume for SAFEMOON Tokens exponentially higher. On April
     2 20, 2021, the volume jumped to $144.7 million, with it increasing further to $173.3
     3 million on April 21, 2021 and then temporarily peaking at $191.6 million on April
     4 22, 2021.
     5        109. Ultimately, the promotional efforts by the Company and Way, Witriol,
     6 and Carter caused a staggering 1,691% increase in trading volume between April
     7 16, 2021 and April 22, 2021.
     8        110. The day following this massive uptick in trading volume and interest in
     9 the SAFEMOON Token, April 23, 2021, the Company sought to continue the
   10 momentum and announced “NEW EXCHANGE ABOUT TO DROP! Hold on!”71
   11 Karony later endorsed this post with a reply saying “Yes.”72
   12         111. This promotion apparently worked. On April 27, 2021, the Company
   13 announced it had reached it had raised enough capital from investors to fund the
   14 long-promised SafeMoon exchange.
   15         112. During the same time, on April 24, 2021, the Company quietly created
   16 a second liquidity pool (“version two” or “V2”) for the purpose of facilitating BNB
   17 token and SafeMoon token swaps.
   18         113. On May 1, 2021, Karony advised SAFEMOON Token investors about
   19 an “update” on the status of the SAFEMOON wallet. Karony teased “all the
   20 features” that were available on the wallet and promised to show the user interface
   21 to investors. Karony also gave a “new hint” about the wallet, namely that the wallet
   22 was “a component of Operation Pheonix.”73
   23
         71
             @SafeMoon         2.0         ,    Twitter     (Apr.        23,      2021),
   24 https://twitter.com/safemoon/status/1385695682665881601?s=20&t=TiHysl             -
      LrvOAIcJW4uBntQ.
   25 72
             Karony         (@CptHodl),       Twitter     (Apr.        23,        2021),
   26 https://twitter.com/CptHodl/status/1385696422889246728?s=20&t=TiHysl-
      LrvOAIcJW4uBntQ.
   27 73     Karony (@CptHodl), Twitter (May 1, 2021), https://twitter.com/CptHodl/
      status/1388543343194484737?cxt=HHwWgsC55Yq0jMUmAAAA:                     “Looking
   28 forward to tomorrow’s update on the wallet. We cannot go into all the features, but
                                         27
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     1        114. In addition to using the celebrity power of the Promoter Defendants,
     2 the Executive Defendants sought to instill confidence in investors by pointing to an
     3 audit it had conducted from a Singapore-based company, CertiK.74 The audit report
     4 created by CertiK (the “CertiK report”) on May 3, 2021, discovered that the
     5 Company’s developers had built an “addLiquidity function” into the SafeMoon
     6 protocol to reward a single “_owner” address with significant sums of SAFE tokens
     7 over time. According to the CertiK report: “As a result, overtime the _owner address
     8 will accumulate a significant portion of LP tokens” (worth approximately $2.6
     9 billion in May 2021).75 “If the _owner is an EOA (Externally Owned Account),
   10 mishandling of its private key can have devastating consequences to the project as a
   11 whole.”76
   12         115. As Jasper Lawler, head of research at London Capital Group to the
   13 Financial Post, noted in an article in the International Business Times, “The manual
   14 burns, alongside the [C]ompany having a pretty large stake in the [SAFEMOON
   15 Tokens], just speaks to me of a manipulation risk. Whenever there’s some sort of
   16 mechanism to stop selling, that’s a bit of a warning sign.”
   17         116. Another cryptocurrency blog described the problem with the manual
   18 burns as follows: “the creators [i.e., the Executive Defendants] can choose to burn
   19 as much of the coin as they want, whenever they want, as this is basically like
   20 trusting the US government not to over inflate the currency. Yes, they have the
   21 power to no over inflate the US dollar, but do they use it? Not always. See the
   22 problem?”77
   23
   24 we will be showing the UI to you. New hint: the wallet is a component of Operation
      Pheonix.         #SAFEMOONARMY #SAFEMOON #Evolution”; Smith
   25 (@papacthulu),      Twitter (May 3, 2021), https://twitter.com/papacthulu/
      status/1389320201699794951?s=20&t=ag5TXmcQakZZcLhD4-Kn_w.
   26 74     https://www.certik.com/projects/safemoon.
      75
   27        Id.
      76
             Id.
   28 77
             See fn.8, supra.
                                              28
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     1        117. CertiK suggested that the project could mitigate that risk by assigning
     2 such privileged roles to multisig wallets, introducing a DAO, and even time-locking
     3 the centralized wallet. The Company rejected this suggestion in CertiK and sought
     4 to downplay the possibility of any wrongdoing by the Executive Defendants: “Rug
     5 pulls or anything else is mitigated due to the fact that every member of SafeMoon
     6 would be subject to litigation and likely a swift prison sentence . . . outside of the
     7 law, our social lives would be in ruin.”78
     8        118. On or about May 5, 2021, the Company, via its Reddit social media
     9 account, took in funds raised from “the community” to pay for multiple billboards
   10 that promoted the SAFEMOON Tokens as the “World’s Fastest Growing
   11 Cryptrocurrency” with the “Fastest Growing Crypto Community on Earth.” The
   12 following picture was posted on the Company’s Reddit account “r/SafeMoon”:79
   13
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   24         119. On May 10, 2021, the Company’s official Twitter account posted a
   25 video showing a different six-story billboard display with a SafeMoon advertisement
   26
         78
            See fn.74, supra.
   27 79
            SAFEMOON AT TIMES SQUARE, NEW YORK                     , Reddit (May 5,
   28 2021), https://www.reddit.com/r/SafeMoon/comments/n5bkvi/safemoon_at_times_
      square_new_york/.
                                            29
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     1 with the caption: “#SAFEMOON has landed in Times Square! Thanks to the
     2 community who raised the funds to make this possible, we are overwhelmed with
     3 the billboard action across the globe . . . the message is strong.
     4 #SAFEMOONARMY”.80
     5         120. The trading volume of SAFEMOON Tokens saw a significant increase
     6 following the Company’s promotional efforts, rising over 46% from $136.2 million
     7 on May 9, 2021 to $199.3 million on May 10, 2021.81
     8         121. On May 13, 2021, Paul promoted SAFEMOON Tokens in an exchange
     9 he had with Grammy award winning rapper Juicy J on Twitter:82
   10
   11
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   14
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   16
   17          122. Then on May 15, 2021, Paul bragged about his earlier promotion of the
   18 SAFEMOON Tokens:83
   19
   20
   21
   22
   23    80
                @SafeMoon 2.0          , Twitter (May 10, 2021), https://t.co/yAb0i78OnG:
         “        #SAFEMOON has landed in Times Square! Thanks to the community who
   24    raised the funds to make this possible, we are overwhelmed with the billboard action
         across the globe . . . the message is strong. #SAFEMOONARMY.”
   25    81
                See fn. 79, supra.
   26    82
                Paul (@jakepaul), Twitter (May 13, 2021), https://twitter.com/jakepaul/
         status/1392962577714528256?lang=en: “@therealjuicyj YOU SAY NO TO
   27    SAFEMOON JUICY J CANT CANT CANT CANT.”
         83
   28           Paul (@jakepaul), Twitter (May 15, 2021), https://twitter.com/jakepaul/
         status/1393719812547878913?lang=en.
                                                    30
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     1        123. On May 15, 2021, Phillips promoted the SAFEMOON Tokens in a
     2 now-deleted post on Twitter by bluntly stating, “YES I HOLD #SAFEMOON NO
     3 SHIT! I ALSO HOLD . . . . (not holding advice).”84
     4        124. Paul’s promotional activities created a corresponding increase in people
     5 trading the SAFEMOON Tokens. In particular, the trading volume of SAFEMOON
     6 Tokens that spiked as a result of the promotional efforts of both the Company and
     7 Paul went from $123 million on May 12, 2021 to $152.7 million on May 13, 2021
     8 (+24%). Then, following a steep drop off in trading volume on the next trading day,
     9 Paul’s May 15th tweet pumped the trading volume up again from $36.6 million on
   10 May 14, 2021 to $51.7 million on May 15, 2021 (an increase of 41% from the
   11 previous day).85
   12         125. On May 16, 2021, Karony tweeted that the Company was preparing to
   13 start a new project called Operation Pheonix in the Gambia. According to Karony,
   14 the Company was in talks with the Gambia for government approval of SafeMoon.86
   15         126. Upon information and belief, this entire trip to the Gambia was a farce
   16 orchestrated by Karony, with the assistance of his parents, to increase the perceived
   17 status of SafeMoon and increase the trading volume in SAFEMOON Tokens.
   18         127. On or about May 20, 2021, Ginger resigned his moderator position with
   19 the Company in order to join on a separate cryptocurrency project that Smith, Wyatt,
   20 Church, and Nagy were working on: the Piggy Token. In particular, Ginger was
   21 invited to serve as the moderator for the soon-to-be-formed social media account for
   22 the Piggy Tokens. Ginger took the position and worked with Smith, Wyatt, and
   23
   24
         84
   25        See fn.7, supra.
         85
             See fn.83, supra.
   26 86
             Karony        (@CptHodl),          Twitter      (May        16,       2021),
   27 https://twitter.com/CptHodl/status/1394051218293538827?s=20&t=lqpTdy.
      M2xWE4M69nsVxoRA: “There’s so much excitement around Operation Pheonix,
   28 I wanted to recap that we are working to the ongoing conversations about SafeMoon
      in The Gambia.”
                                               31
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     1 Nagy for months before eventually leaving after accusing Smith and Nagy, in
     2 particular, of defrauding Piggy Token investors (and himself).
     3        128. On May 22, 2021, an auditing company, HashEx, published an audit
     4 report on the Company’s smart contracts that was created for a SAFEMOON Token
     5 investor (the “HashEx report”).87 The stated purpose of the audit was to “identify
     6 potential security issues with smart contracts” and “formally check the logic behind
     7 given smart contracts.”88 The HashEx report ultimately found the Company’s smart
     8 contracts had two “critical” and three “high” severity security issues/vulnerabilities
     9 with the SAFEMOON Token that could be exploited for fraudulent purposes. The
   10 HashEx report defines an issue as critical “if it may cause unlimited losses or breaks
   11 the workflow of the contract and could be easily triggered.” High severity issues are
   12 defined as those that “may lead to limited losses or break interaction with users or
   13 other contracts under very specific conditions.” One of the critical severity issues
   14 that the HashEx report identified was related to SafeMoon’s “Ownable contract.”
   15 Notably, as part of the analysis of this critical severity vulnerability, the HashEx
   16 report disclosed that the SAFEMOON Token contract was merely a modified
   17 version of another, publicly available Ownable contract from OpenZepplin.89
   18         129. Shortly after the HashEx report was released, Arriaga began working
   19 on the Company’s behalf. While he officially joined the Company as its Global
   20 Head of Products in July 2021, Arriaga had been operating as an undisclosed
   21 promotor of the SAFEMOON Tokens prior to taking on this titled position. Arriaga,
   22
   23
   24
   25
         87
   26       Polly Traore, Safemoon smart contract audit report, HASHEX (May 22,
      2021),    https://blog.hashex.org/safemoon-smart-contract-audit-report-8e4b843a3
   27 75d.
      88
            Id.
   28 89
            Id.
                                             32
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     1 using “The Fud Hound” as a pseudonym,90 worked as the de facto public
     2 relations/damage control officer for the Company since at least May 24, 2021.91
     3        130. Arriaga’s primary job was to attack and discredit anyone publicly
     4 spreading fear, uncertainty, or doubt (aka “FUD”) about the Company or the
     5 SAFEMOON Tokens.
     6        131. On May 24, 2021, Arriaga created “The FUD Hound” YouTube page
     7 and uploaded an approximately 30-minute video titled “Safemoon Reedemed!
     8 [sic]”92 The video’s description also provided the following statement from Arriaga:
     9        Safemoon FUD is the newest desperation tactic that some YouTubers
   10         and opportunists are taking advantage of. Many people who scream
   11         “Ponzi Scheme” or “Scam” before doing their own research are those
   12         that can easily be discredited for their lazy and half-baked analysis. In
   13         this video is an example of such.
   14         Remember, there are YouTube opportunists everywhere, most will ride
   15         a trend or movement to which they know nothing about in order to get
   16         views and hopefully pick up some naïve subscribers along the way.
   17         They care not about the damage and destruction they cause for they are
   18         only in the game for themselves.
   19         I expose these people for who they are. Enjoy.
   20         132. In the Safemoon Reedemed! Video, there are clips of videos from other
   21 YouTube channels warning young and naïve investors to stay away from projects
   22 like SafeMoon because it could be a scam and/or displays “Ponzi scheme”
   23 characteristics. Arriaga cynically accuses these other video creators of manipulating
   24
         90
             Upon information and belief, Arriaga also used the username
   25 “u/Influencer_CEO_Techy” as another alias to anonymously promote and hype the
      SAFEMOON Tokens to users on the social media platform, Reddit.
   26 91
             The Safemoon Hound (@TheFudHound), Twitter (May 24, 2021),
   27 https://twitter.com/TheFudHound/status/1396917364642385920?cxt=HHwWgMC
      swaS87OImAAAA: “Thank you          .”
   28 92
             The FUD Hound, Safemoon Reedemed!, YouTube (May 24, 2021),
      https://www.youtube.com/watch?v=ARuxp8Va0bw.
                                             33
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     1 the emotions of investors and then proceeds to undermine those warnings in an effort
     2 to maintain positive sentiment towards the Company and the SAFEMOON Tokens.
     3        133. The following day, the @TheFudHound Twitter account was created.
     4 Arriaga uploaded his first video and immediately began threatening so-called
     5 FUDsters.
     6        134. For example, in one of his later tweets on May 25, 2021, Arriaga stated
     7 that   he    had   the   “Next   #SAFEMOON         FUDster    in   the   crosshairs.
     8 #SAFEMOONARMY will love Expose #2. The hound is on the scent, next video
     9 will be even better.”     Arriaga announced that “Project #StoptheFUD started
   10 yesterday” and threatened potential naysayers: “We are #SafeMoonCommunity
   11 think before you post misinfo because I won’t hold back.”
   12         135. On May 31, 2021, the Company posted a short video to its social media
   13 accounts generally promoting the SafeMoon “TOKENOMICS” with images
   14 indicating that investors would be happy to receive the SafeMoon Reflections.93
   15         136. In another post that day, the Company continued its efforts to promote
   16 SafeMoon’s “tokenomics” to investors, announcing that “Another exchange has
   17 enabled #SAFEMOON tokenomics.”94
   18         137. Notably, throughout May and June 2021, as the price of the
   19 SAFEMOON Tokens were near the all-time highs, Smith continued to sell off large
   20 portions of his SAFEMOON Token holdings and/or slowly draining SafeMoon’s
   21 liquidity pool along with other Executive Defendants like Nagy and Karony. In
   22 particular, Smith sold at least over 80 billion of his pre-mined SAFEMOON Tokens
   23 for 900 BNB over this time period.
   24
   25
   26    93
           @SafeMoon 2.0   , Twitter (May 31, 2021), https://t.co/RXFOFdpZ2C:
      “TOKENOMICS        #SAFEMOON.”
   27 94
           @SafeMoon 2.0   , Twitter (May 312, 2021), https://t.co/NNKuwT3irY:
   28 “ANOTHER   EXCHANGE    HAS ENABLED #SAFEMOON TOKENOMICS.
      @bitbns.”
                                       34
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     1         138. Upon information and belief, one of Smith’s wallet addresses is
     2 0x05d1C1 (“Smith Wallet 1”).95 Using this wallet as a starting point, a BSCscan
     3 search of Smith’s transactions from this wallet show a series of transfers to other
     4 undisclosed wallets under his control and/or ownership.
     5         139. For example, Smith Wallet 1 sent 100 Binance Coin (“BNB”) – upon
     6 information and belief, these BNB tokens were either siphoned from the SafeMoon
     7 liquidity pool by Smith or a part of Smith’s pre-sale SAFEMOON Tokens – to wallet
     8 address 0x05c02 (“Smith Wallet 2”).96 An hour later, Smith Wallet 2 transferred
     9 99.99 BNB to a third wallet address that has received funds from Smith several
   10 times: 0x21d45.
   11          140. At the time of this filing, wallet address 0x05c02 has over $110 million
   12 in various Binance-pegged tokens – with almost $39 million in BNB alone.97 Much,
   13 if not all, of this money can be traced via the immutable blockchain back to Smith’s
   14 conduct as a developer and selling of SAFEMOON Tokens.
   15          141. On June 1, 2021, the Company attempted to reassure SAFEMOON
   16 Token investors, after four consecutive days of decreasing trading volume and
   17 downward selling pressure had caused the price of the SAFEMOON Tokens to drop.
   18 In a play on investors’ emotions and feelings of goodwill, the Company published a
   19 post on Twitter that stated, “No rug pulls here,” above a picture of several puppies
   20 with photoshopped SafeMoon badges.98
   21
   22
   23
   24    95
               https://bscscan.com/address/0x05d1c1defa31c257d3206f2af99aa16dbbf05
   25    d46 (last visited Feb. 28, 2022).
         96
               https://bscscan.com/address/0x5c0c255516423b64b21e5a2c7aaa8ab6bf3d
   26    0d91 (last visited Feb. 28, 2022).
         97
               https://bscscan.com/address/0x21d45650db732ce5df77685d6021d7d5d1d
   27    a807f (last visited Feb. 28, 2022).
         98
   28          @SafeMoon 2.0         , Twitter (June 1, 2021), https://t.co/r4ZpbmEoME: “
         #SAFEMOON SECURITY REPORTING FOR DUTY!                              .”
                                                   35
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     1        142. On June 2, 2021, Arriaga published a video titled, “Hashex Safemoon
     2 Audit DEBUNKED,” in response to the criticisms leveled in the Hashex report.99 In
     3 the caption to this video, Arriaga stated:
     4        Hashex audit on Safemoon exposed in this expose. Is a SafeMoon
     5        Blockchain a possibility? I analyze a little of who Hashex is as well as
     6        their independent critical audit finds that were publicized and used to
     7        discredit SafeMoon. However, there are some holes in this logic as
     8        well as “who” Hashex is. While uncovering holes in the Hashex audit,
     9        I take you down the rabbit hole and reveal how SafeMoon has
   10         positioned itself to keep hold of its cards should they decide that a
   11         SafeMoon Blockchain is something to pursue.               SafeMoon is
   12         encountering FUD from all directions. This may be due to the
   13         immense threat SafeMoon poses to those already in power positions
   14         in the Blockchain space.
   15 [Emphasis added.]
   16         143. In the video itself, Arriaga downplayed the findings of the Hashex
   17 report, calling it, among other things, a “cheap shot” and dismissing the audit’s
   18 finding that there was a critical issue in the code for the SAFEMOON Token that
   19 could result in the liquidity pool being drained.
   20         144. Arriaga also stated that the Company had purposefully not “locked” the
   21 liquidity pool so that the Company would have the flexibility to deploy the capital
   22 within the liquidity pool to fund “innovative” projects instead of it being unavailable
   23 because it was locked up elsewhere.100
   24
   25    99
             Arriaga, Hashex Safemoon Audit DEBUNKED!, YouTube (June 2, 2021),
      https://www.youtube.com/watch?v=rB1m7NiaekA.
   26 100
             This statement by Arriaga demonstrates that the Company’s earlier social
   27 media   posts about having two liquidity pools locked until 2025 were misleading and
      simply meant to trick investors who were worried about the ability of insiders like
   28 the Executive and Promoter Defendants to run off with their money into believing
      that their investments in SAFEMOON Tokens were safe.
                                                36
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     1          145. The promotional efforts of the Company and Arriaga were successful
     2 insomuch as trading volume rose approximately 40%, from $17.8 million on June 1,
     3 2021, to $29.6 million on June 2, 2021.
     4          146. On June 3, 2021, the Company again promoted the “tokenomics” of the
     5 SAFEMOON Tokens and promised investors that “Holding is Rewarding.”101
     6 Another Twitter post from the Company that same day indicated that investors
     7 needed to “HODL” since “WE’RE ALL IN THIS TOGETHER! #SAFEMOON.”102
     8          147. The next day, the Company’s Twitter account resumed its efforts to
     9 reassure investors and stabilize the trading volume of SAFEMOON Tokens. In
   10 particular, the Company posted an animated video of a SafeMoon “FUD Monster”
   11 being revealed to be a rat that runs away when exposed. The caption for this post
   12 states:      “FUD     MONSTER        IN    REALITY       .   .   .    #SAFEMOON
   13 #FAMILYNOTFUD.”103
   14           148. On June 5, 2021, Witriol was interviewed on a question-and-answer
   15 video that was uploaded to YouTube. During the interview, Witriol is identified as
   16 the “go to” person with the Company who knows “what’s going on” with
   17 SafeMoon.104 Witriol also touted the “tokenomics” of the SAFEMOON Tokens and
   18 that there is “a lot to look forward to” with the Company. He assured investors that
   19 there was a “low chance of a rug pull” because Karony would “lose his credentials”
   20 with the Department of Defense.105
   21           149. On June 6, 2021, the Company thanked SafeMoon investors and
   22 boasted that SafeMoon was poised to increase significantly in price: “Above all other
   23
         101
   24           @SafeMoon 2.0       , Twitter (June 3, 2021), https://t.co/6cvThDmJ2Y:
         “HOLDING IS REWARDING                 #SAFEMOON.”
   25    102
                @SafeMoon 2.0     , Twitter (June 3, 2021), https://t.co/U1nYcRokGu.
         103
   26           @SafeMoon 2.0       , Twitter (June 4, 2021), https://t.co/T9GHP81D87:
         “FUD MONSTER IN REALITY. . .                 #SAFEMOON #FAMILYNOTFUD
   27    https://t.co/T9GHP81D87.”
         104
                See fn.5, supra.
   28    105
                Id.
                                                37
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     1 projects and tokens, SafeMoon has proved one thing . . . cryptocurrency may be
     2 young but very much on route to the moon.”106
     3         150. On June 7, 2021, Karony announced that the Company had “identified
     4 glaring security gaps with a lot of wallet providers” and was in the process of
     5 “integrating game changing encryption into the wallet.”                Karony then
     6 unambiguously declared that, “The SafeMoon wallet will be one of / if not the
     7 strongest wallets on the market. #SAFEMOON is the #Evolution!”107
     8         151. Karony went on to state that, “[w]e have come to the conclusion that
     9 it’s just better to do things yourself,” indicating to investors that SafeMoon decided
   10 to create its own wallet due to the vulnerabilities in existing cryptocurrency
   11 wallets.108 Karony also alluded to the “crypto world” being “ironically archaic, and
   12 toxic,” and hinting that “someone” was copying SafeMoon while simultaneously
   13 trying to “cyber bully and attack” Defendants.
   14          152. That same day, June 7th, Arriaga released another so-called exposé
   15 video that attacks another YouTuber for warning investors that the SAFEMOON
   16 Tokens were a “$500 million dollar scam” and generally “shilling FUD about well-
   17 meaning companies” like SafeMoon.109
   18
   19    106
                @SafeMoon 2.0         , Twitter (June 6, 2021), https://twitter.com/safemoon/
         status/1401617178638622724?s=20&t=4i0FP5_ox1QpuQ-AX5Otzw: “To all our
   20    loyal HOLDERS! Thank you . . . you have been there on our ups and our downs,
         #SAFEMOON is a community. . . a family. Above all other projects and tokens
   21    safemoon has proved one thing. . . cryptocurrency maybe young but very much on
         route to the moon         .”
   22    107
                Karony (@CptHodl), Twitter (June 7, 2021), https://twitter.com/CptHodl
   23    /status/1401904812409696257?s=20&t=0JHKaogN0eltPoTdU6K_6g: “We also
         identified glaring security gaps with a lot of wallet providers. We are integrating
   24    game changing encryption into the wallet. The SafeMoon wallet will be one of / if
         not the strongest wallets on the market. #SAFEMOON is the #Evolution!”
   25    108
                Karony (@CptHodl), Twitter (June 7, 2021), https://twitter.com/CptHodl/
         status/1401909541105774598: “We have come to the conclusion that it’s just better
   26    to do things yourself. The crypto world is ironically archaic, and toxic. Someone
         copies what you did, then repeatedly tries to cyber bully and attack you. Stop. When
   27    one wins we all win. Other tokens are not the enemy.”
         109
   28           Arriaga, Safemoon redeemed a 3rd time, YouTube (June 7, 2021),
         https://www.youtube.com/watch?v=G8QJm6_aKgw.
                                                   38
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     1         153. These various efforts by Arriaga at damage control allowed Defendants
     2 to increase and/or stabilize the trading volume for a short period of time.
     3         154. On June 11, 2021, Karony announced that he was “[h]appy to say [the
     4 SafeMoon team is] smashing out our internal deadlines.” Karony then hinted at
     5 imminent release dates for promised features for “the Wallet, exchange and more
     6 importantly Operation Pheonix.”
     7         155. In another public post from the same day, the Company’s official
     8 Twitter account bragged, “WE SAID WE’D BRING YOU A SHOW! THE
     9 #SAFEMOONWALLET IS JUST THE BEGINNING . . . .”110
   10          156. On June 13, 2021, Karony, in an apparent effort to have investors
   11 associate SAFEMOON with the popular cryptocurrency Dogecoin and its unofficial
   12 ambassador, Elon Musk, cited to the Company’s Chief Blockchain Officer, Thomas
   13 Smith, and his being “involved with the Doge Coin x SpaceX partnership.”111
   14          157. That same day, Arriaga released a purported exposé video titled,
   15 “Crypto Genesis spreads FUD about SafeMoon – DEBUNKED,” wherein he again
   16 dismissed criticisms about SafeMoon as invalid “FUD” and threatened to expose
   17 anyone speaking negatively about the Company.112
   18          158. On June 21, 2021, Arriaga released his sixth and final video on the FUD
   19 Hound YouTube channel, which was titled, “Mat.t Wallace bashes Safemoon and
   20
   21
   22    110
                @SafeMoon 2.0      , Twitter (June 7, 2021), https://twitter.com/safemoon/
   23    status/1403431640777510916?s=20&t=HSZFEiryLjHn9PrjFQP1xw: “WE SAID
         WE’D BRING YOU A SHOW! THE #SAFEMOONWALLET IS JUST THE
   24    BEGINNING. . .         .”
         111
                Karony (@CptHodl), Twitter (June 13, 2021), https://twitter.com/CptHodl/
   25    status/1404104687566086149?cxt=HHwWioCzncXxsPwmAAAA: “We have no
         issues with Doge Coin. Fun fact, the SafeMoon Chief Blockchain Officer was
   26    involved with the Doge Coin x SpaceX partnership. So yes, you will be able to hold
         Doge on #SAFEMOONWALLET.                That’s where I’ll be holding mine.
   27    #SAFEMOON is the #Evolution!”
         112
   28           Arriaga, Crypto Genesis spreads FUD about Safemoon – DEBUNKED,
         YouTube (June 13, 2021), https://www.youtube.com/watch?v=zSbbt_JralU.
                                                39
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     1 then gets destroyed!” with a laughing face emoji.113 In the caption to the video,
     2 Arriaga claims that SafeMoon critic Matt Wallace’s research was “lazy and
     3 misleading.” Then, in an apparent attempt to persuade investors into ignoring
     4 Wallace’s warnings about the SAFEMOON Tokens, Arriaga attempted to whip up
     5 a mob mentality within the SafeMoon community, by encouraging them to “witness
     6 [Wallace] getting owned on a live-stream as he comes unprepared with zero facts”
     7 and to “[w]atch this epic display of failure as this FUDster gets exposed.”114
     8         159. In July 2021, Arriaga “officially” joined the Company as its Global
     9 Head of Products.
   10          160. On July 14, 2021, Witriol participated in an “Ask Me Anything”
   11 interview (“AMA”) wherein he made numerous statements on behalf of the
   12 Company.115 For example, in response to a question from a SAFEMOON Token
   13 investor about the Company’s prospects, Witriol stated that he was “more excited
   14 now than when I joined the team” and that investors were “gonna like what you
   15 hear” in the near future.116
   16          161. Witriol went on to declare that he was “[m]ore bullish now than I was
   17 two weeks ago before I joined the team.”117 This statement is at odds with Witriol’s
   18 earlier comments that he was with the Company since “day one or day two” when
   19 he met with Karony.118         Upon information and belief, Witriol knew that his
   20 statements about the Company’s prospects and him only joining the Company “two
   21 weeks ago” were false when he made them. In particular, Witriol appears to have
   22
   23
         113
          Arriaga, Matt Wallace bashes Safemoon and then gets destroyed!    ,
   24 YouTube (June 21, 2021), https://www.youtube.com/watch?v=z0qVSbwSnEc.
      114
   25     Id.
      115
          SAFEMOON SHAUN WITRIOL TWITTER SPACES AMA (FULL) 7/14/21,
   26 YouTube (July 15, 2021), https://www.youtube.com/watch?v=ow0M9bh1mNE.
      116
   27     Id.
      117
          Id.
   28 118
          See fn. 102, supra.
                                            40
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     1 made the latter statement in an effort to distance himself from the Company and the
     2 other Executive Defendants.
     3         162. Within a month of Witriol’s AMA interview and in the final weeks
     4 before the promised launch of the SafeMoon wallet (i.e., August 2021), Witriol left
     5 the Company.
     6         163. Around the same time, the price of SAFEMOON Tokens was dropping
     7 precipitously due to immense downward selling pressure for large holders.
     8 “SafeMoon has witnessed whales dumping in large proportions from June to July
     9 2021.”119 As reported in the International Business Times article, “Mysterious
   10 SafeMoon Investor Dumps 2.4 Trillion Coins, Value Falls 28% in the Day’s Trade,”
   11 the value of the SAFEMOON Tokens dropped 28% on July 31, 2021 in “the largest
   12 sell-off for July 2021,” caused by a “domino effect of panic selling.” In response to
   13 this, Phillips took to Twitter on August 2, 2021, to talk tough to the unknown whale
   14 who      sold   the   2.4   Trillion   SAFEMOON       Tokens    stating,   “F***ING
   15 IRRESPONSIBLE WHALE. . . I HOPE YOU GET HIT BY A BUS.”120 Neither
   16 the Company, nor the Executive Defendants denounced Phillips’ statement or even
   17 commented on it at all.
   18          164. The price and trading volume for the SAFEMOON Tokens began to
   19 stabilize after the Company and the Executive Defendants began promoting the
   20 scheduled SafeMoon wallet launch more aggressively in the lead up.
   21
   22
   23
   24
         119
            Vinod DSouza, Crypto Influencer Ben Phillips Wishes Death to SafeMoon
   25 Whale: ‘I Hope you Get Hit by a Bus,’, INTERNATIONAL BUSINESS TIMES (Aug. 2,
      2021),         https://www.ibtimes.sg/crypto-influencer-ben-phillips-wishes-death-
   26 safemoon-whale-i-hope-you-get-hit-by-bus-59293.
      120
   27       See Vinod DSouza, Mysterious SafeMoon Investor Dumps 2.4 Trillion Coins,
      Value Falls 28% in the Day’s Trade,’ INTERNATIONAL BUSINESS TIMES (July 31,
   28 2021), https://www.ibtimes.sg/mysterious-safemoon-investor-dumps-2-4-trillion-
      coins-value-falls-28-days-trade-59232.
                                              41
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     1         165. On August 14, 2021, the Company’s Twitter account posted a minute-
     2 long video advertisement for the SafeMoon wallet.121 The video told investors that:
     3                    “It’s time to get serious about the SAFEMOON wallet”
     4                    “We take intuitive design, and strive for perfection”
     5                    “The future of trading is here”
     6                    “Ease of use built for all”
     7                    “Full Launch 28th of August”
     8                    “Available on Android and iOS”
     9         166. Following the release of this commercial, trading volume for
   10 SAFEMOON Tokens almost quadrupled from $11.4 million on August 14, 2021
   11 to $43.7 million on August 16, 2021.
   12          167. On August 20, 2021, Way touted the financial benefits of investing in
   13 SafeMoon (and SafeMoon-related services like the SAFEMOON Tokens?) to his
   14 Twitter followers, stating, among other things, that he was “getting paid out in
   15 @SafeMoon constantly. . . .”122
   16          168. The trading volume for SAFEMOON Tokens increased following
   17 Way’s promotion, going from $14.6 million on August 19, 2021, to $20.8 million
   18 on August 20, 2021 (a 42% increase).123
   19          169. On August 19th and 24th of 2021, Karony stated, on his personal
   20 Twitter account, that he was “Looking forward to #SAFEMOONWALLET launch
   21 on August 28th!”124
   22
         121
   23           @SafeMoon 2.0         , Twitter (Aug. 14, 2021), https://t.co/atarzOUuX7:
         “THANK YOU FOR ALL THE SUPPORT ON THE JOURNEY TO THE
   24    #SAFEMOONWALLET LAUNCH                      COMING SOON AUGUST 28TH.”
         122
                Way (@souljaboy), Twitter (Aug. 20, 2022), https://twitter.com/souljaboy/
   25    status/1428847986759462917?lang=en.
         123
   26           Id.
         124
                Karony (@CptHodl), Twitter (Aug. 24, 2021), https://t.co/m9CrVLGy9L: “1
   27    million followers in under 6 months. This is a huge achievement. Looking forward
         to the #SAFEMOONWALLET launch on August 28th. Let’s evolve together!
   28    #SAFEMOON #SAFEMOONARMY”; id.: “Meetup at the billboard? Looking
                                          42
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     1         170. The trading volume rose in the days leading up to the launch of the
     2 SafeMoon wallet from $13.5 million on both August 19th and 24th up to $54.6
     3 million on August 28th – an increase of over 300%.
     4         171. On August 28, 2021, the Company repeatedly announced on its social
     5 media platforms that the launch of the SafeMoon wallet was scheduled for that day
     6 at 4PM EST. But when the moment for the launch arrived, the Company did not
     7 release the SafeMoon wallet as previously promised.
     8         172. The Company released the following statement concerning the failed
     9 release of the SafeMoon wallet:
   10 Wallet Update
   11          SAFEMOONARMY – Thank you for bearing with us!
   12          We’ve experience unforeseen technical issues on launching all 3
   13          products at the same time (website buy & swap, android wallet & IOS
   14          wallet).
   15          We’re working around the clock to fix the issues and to ensure we give
   16          you the quality experience you deserve. So we can manage demand,
   17          will be releasing each product in a staggered approach (one by one) –
   18          starting with the website buy & swap function – today.
   19          We apologise for the delay. We hear all of you. We can’t wait to bring
   20          you all home.125
   21          173. After two days without the promised release of the wallet function, the
   22 Company disseminated a second announcement on August 30, 2021, regarding the
   23 delay:
   24          Wallet Update
   25          What’s the hold-up? #SAFEMOON
   26
   27 forward to #SAFEMOONWALLET launch on August 28th! #SAFEMOON is the
      #Evolution!”
   28 125
            @SafeMoon 2.0        , Twitter (Aug. 28, 2021), https://twitter.com/
      safemoon/status/1431737961796747267?s=20&t=asnTTweZ9AovC9VEdUFRwQ
                                          43
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     1       Here’s a #SAFEMOONWALLET update from CEO John Karony.
     2       Hype and FUD to one side, here is more detail on what happened over
     3       the last 48 hours:
     4       As you know, we worked extensively towards the wallet launch on the
     5       28th of August. However, the technical issues experienced at 4:00PM
     6       (BST) created unforeseen side effects that the product development
     7       teams have been unable to resolve yet (for re-approval from Apple &
     8       Google). No reasons for an unsuccessful launch were bought [sic] to
     9       my attention prior to 4PM, and for that I apologise as I promised you,
   10        our community a product worth waiting for. It’s still coming, we just
   11        have to wait a bit longer. If I had been made aware of the issues now
   12        known, the launch would not have gone ahead.
   13        Our aim is to deliver the safest wallet on the planet – we won’t launch
   14        any product unless it’s the best it could possibly be, for you.
   15        We have all been working around the clock to address the technical
   16        issues and have come to the conclusion that we need to delay the wallet
   17        launch. I have been reassured by SAFEMOON’s Global Head of
   18        Product [i.e., Defendant Arriaga] that this will be fixed swiftly and
   19        efficiently, and we have the utmost confidence it will.
   20        All SAFEMOON staff are on hand to support the Global Head of
   21        Product and make sure he has endless resources to deliver the wallet.
   22        The wallet launch is my utmost priority and I am committed to get you
   23        an update as soon as I can. We are all disappointed. But our focus
   24        remains on ensuring you get the wallet you deserve.
   25        Thank you for your continued support and patience. The wallet is
   26        coming and it will be worth the wait.
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                                        44
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     1         We are family, we are SAFEMOON.126
     2 [Emphasis added.]
     3         174. The price of the SAFEMOON Token, and its trading volume,
     4 plummeted in the wake of the failed launch of the wallet. The price went from a
     5 high of $0.00000355 to a low of $0.0000014 (a 60.5% decrease). The Company and
     6 the Executive Defendants nevertheless continued to dangle the prospect of the wallet
     7 out to investors in order to continue to unload more of their portion of the Float.
     8         175. On September 6, 2021, the Company’s Twitter account reposted a tweet
     9 from Arriaga, telling investors that “#SAFEMOONWALLET is imminent!” In the
   10 caption to this re-tweet, the Company credited this statement from Arriaga as being
   11 from the “Dev himself”127 (i.e., the developer of the SafeMoon wallet). Smith
   12 reposted this announcement on his Twitter account, as well.128
   13          176. The trading volume of SAFEMOON Tokens once again spiked as a
   14 result of the announcements by the Company itself and Arriaga, going from $12.5
   15 million on September 5, 2021 (the day before the promotions about the SafeMoon
   16 wallet) up to $38 million on September 10, 2021 – a 200% increase in trading
   17 volume.
   18          177. On September 9, 2021, the Company’s Chief Technology Officer,
   19 Hank Wyatt, announced his resignation on Twitter.129 Following his departure,
   20 Wyatt was interviewed about why the SafeMoon wallet failed to launch and the
   21
         126
             @SafeMoon 2.0         , Twitter (Aug. 30, 2021), https://t.co/0GGN7mFQIS:
   22 “UPDATE ON THE #SAFEMOONWALLET                           #SAFEMOON.”
      127
   23        @SafeMoon 2.0         , Twitter (Sept. 6, 2021), https://twitter.com/safemoon/
      status/1434855369394860033?s=20&t=CTlBkiT2WMEr75TWa-S91A: “From the
   24 Dev himself the #SAFEMOONWALLET is IMMINENT                         .”
      128
             Id.
   25 129
             Wyatt (@Hankusun), Twitter (Sept. 9, 2021), https://twitter.com/Hankusun/
   26 status/1436043090754744331?ref_src=twsrc%5Etfw%7Ctwcamp%5Etweetembed
      %7Ctwterm%5E1436043090754744331%7Ctwgr%5E%7Ctwcon%5Es1_&ref_url
   27 =https%3A%2F%2Fcryptoslate.com%2Fsafemoon-cto-resigns-fueling-rumors-of-
      disquiet-within-the-company%2F: “Leaving my position on Safemoon was
   28 definitely a difficult decision, the hardest I’ve ever had to make. However, I’m
      excited for the future and can’t wait for the next chapter of my life to begin!”
                                                 45
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     1 reasons for his departure.130 According to Wyatt, the development team for the
     2 SafeMoon wallet were hired by the “business leads not the developmental leads.”
     3         178. Wyatt also explained how he found out about the SafeMoon project on
     4 the social media platform Discord in the early days of the Company’s formation.
     5 Wyatt disclosed that two “old Safemoon moderators” that Wyatt “knew” –
     6 apparently displeased with his departure from SafeMoon and, as a result, “set him
     7 up” with “targeted questions” – had secretly recorded two conversations “without
     8 [his] permission.”131 Apparently feeling threatened with a forced exposure, Wyatt
     9 admits to having invested $9,000 to join in the Company “in the beginning.” He
   10 learned about it on Discord and “went with it.”
   11          179. In the recording, Wyatt informs those on the call that his next project –
   12 the Piggy Token project, which included Smith and Nagy – would make all of those
   13 insiders who had acquired the Piggy Tokens during a pre-sale event “filthy rich.”132
   14 Wyatt noted that with the Piggy Token, the creators would not be able to “rug” the
   15 liquidity (i.e., deplete the funds allocated to the liquidity pool), which was possible
   16 with SafeMoon.133
   17          180. As for his work at the Company, Wyatt complained that he and Smith
   18 “did not get to code anymore” in their respective roles as officers of the Company.134
   19 Instead, according to Wyatt, as CTO, his job was to “manage things” which “didn’t
   20
   21
         130
   22          HANK TALKS FUTURE OF SAFEMOON! WHY HE QUIT, PIGGYBANK,
         WALLET LAUNCH FAILURE, DDOS ATTACKS!, COINMARKETBAG (Sept. 30,
   23    2021),     https://coinmarketbag.com/hank-talks-future-of-safemoon-why-he-quit-
         piggybank-wallet-launch-failure-ddos-attacks/.
   24    131
               Id.
         132
   25        Henry Wyatt (@de_crypto_mole), Twitter (Sept. 12, 2021), https://twitter.com/
         de_crypto_mole/status/1436952213335707649?s=20&t=y5zpGnlvOvSFqBg23Sita
   26    w: “Hank from @safemoon outing the entire team on Piggy. This is sick and have
         taken advantage of the entire community. @PapasB0y @PapasB0y @LynnShelbyL
   27    @NotLotusEater @Not_Ryan_Dunn @darrenrobinson.”
         133
               Id.
   28    134
               Id.
                                                46
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     1 take that much time.”135 Wyatt stated that Smith was only working “15 hours a
     2 week” on SafeMoon; thus, the two of them could devote “80 hours” to the Piggy
     3 Token and other non-SafeMoon projects.136
     4         181. Wyatt also explained that he and Smith also had all of the marketing
     5 for Piggy Token completed, with several months-worth of social media posts already
     6 created and ready to disseminate.137 One of the other individuals asked Wyatt if
     7 these pre-fabricated media posts (“4 posts per day for the first two months were
     8 already” done) were going to be spell checked.138 This question referenced the
     9 announcement that SafeMoon had made regarding the “deliberately misspelled”
   10 event “Project Pheonix.” Wyatt responded by mocking the Company’s marketing
   11 errors, saying “Yeah, we don’t have a dumb, fat brit doing it” this time – presumably
   12 alluding to Phillips’ hamfisted promotional activities with SafeMoon.139
   13          182.   Wyatt went on threaten that it was in Karony’s “best interest” to pay
   14 Wyatt a $3 million severance package.140 Wyatt stated that he had the “keys” to the
   15 Company’s Discord account, so “if John wants to get spooky” and not pay the
   16 severance, Wyatt could “just rename it,” “delete every channel,” and reroute
   17 individuals looking for SafeMoon to the Piggy token webpage instead.141 Wyatt
   18 claimed to be “forcing [Karony’s] hand” because Wyatt claimed to have ownership
   19 rights over “everything,” including the Company’s official Twitter account and,
   20 more importantly, the Company’s domain name and website.142 Wyatt joked that
   21
   22
   23    135
               Id.
         136
   24          Id.
         137
               Id.
   25    138
               Id.
   26    139
               Id.
         140
   27          Id.
         141
               Id.
   28    142
               Id.
                                          47
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     1 Karony could “his paperweight or he can pay be fair wages.”143 Wyatt disclosed his
     2 purpose for seeking the million-dollar payout from SafeMoon: “I want my house”
     3 and that he wanted the severance to cover the $500,000 he was planning on investing
     4 in the Piggy token project.144
     5         183. In an interview with Wyatt, after the audio recordings were threatened
     6 to be leaked online, Wyatt attempted to some damage control with respect to his
     7 recorded statements. Wyatt claimed the recording showed him making a comment
     8 about how he was displeased with SafeMoon because he “didn’t get a raise” and
     9 “didn’t want to work weekends.” After admitting this during the interview, Wyatt
   10 later expresses frustration at the amount of work that he was supposed to do at the
   11 Company and, in particular, with respect to the SafeMoon wallet. In response to a
   12 question on whether he left because it was too much work for him, Wyatt stated that
   13 he had been “dedicating all of his time at SafeMoon and didn’t want to do it anymore.
   14 I had done it for six months. That was enough for [him].” Later in the interview,
   15 Wyatt said that he “felt undervalued” by the Company. 145
   16          184. Wyatt later admitted that he sold a “decent amount” of his
   17 SAFEMOON Tokens “120 something days ago.” He further disclosed that he did
   18 not gain his SAFEMOON Token holdings from working at the Company, but rather
   19 that he acquired them through his own money and being “gifted some Safemoon
   20 from friends.” With the interview taking place on or about September 30, 2021, this
   21 would place Wyatt’s SAFEMOON Tokens sales around late May/early June of
   22 2021. As the following chart show,146 this would be around the same time that the
   23 price of SAFEMON Tokens was rebounding briefly before plunging down further:
   24
   25
   26    143
               Id.
         144
   27          Id.
         145
               See fn.130, supra.
   28    146
               https://coinmarketcap.com/currencies/safemoon/ (last visited Feb. 16, 2022).
                                               48
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   11          185. Upon information and belief, Wyatt knew or should have known that
   12 the SafeMoon wallet launch would not be occurring within the timeframe the
   13 Company announced and because of this, sold his SAFEMOON Tokens to
   14 unsuspecting investors before the further delays for the wallet launch were
   15 uncovered and the price of the SAFEMOON Tokens took a corresponding hit.
   16          186. The day after Wyatt announced his resignation, on September 10, 2021,
   17 the Company released the following announcement147 that Haines-Davies was also
   18 stepping down from his position as COO and would be leaving SafeMoon:
   19
   20
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   25
   26
   27
   28    147
              Karony (@CptHodl), Twitter (Sept. 10, 2021), https://t.co/7Cz562GkgC:
         “We wish you well.”
                                           49
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   15          187. The cryptocurrency news blogs speculated that, because the Company
   16 did not give any details as to the circumstances behind Defendant Haines-Davies’
   17 departure and given the time of his resignation, the reason Haines-Davies left the
   18 Company was due to its failure to deliver the SafeMoon wallet on the promised
   19 schedule.148 Haines-Davies’ Twitter profile timeline appears to confirm this. On
   20 August 30, 2021, Haines-Davies reposted the Company’s wallet update message
   21 regarding the “hold up” with delivering the wallet when promised. Haines-Davies’
   22 next post was his September 10, 2021 announcement that he was leaving the
   23 Company.149 In that post, Haines-Davies stressed that he needed to “remove”
   24 himself from “toxic environments.”
   25
   26    148
            Jack Haines, COO and Co-founder of SafeMoon Dumped the Project,
      NaijaBlog (Sept. 10, 2021), https://naijablog.ng/2021/09/10/jack-haines-coo-and-
   27 co-founder-of-safemoon-dumped-the-project/.
      149
   28       Haines-Davies (@jackhainesuk), Twitter (Sept. 10, 2021): “Dear
      #SAFEMOON https://t.co/eU64JoF9cI” / Twitter.
                                             50
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     1         188. An article in the International Business Times titled SafeMoon
     2 Developers Flee at Slightest Sign of Trouble, Top Honchos Resign over Wallet
     3 Fiasco questions Defendant Haines for “flee[ing] at the slightest trouble instead of
     4 working towards correcting the missteps of SafeMoon” and whether he “was unable
     5 to handle work pressure for just six months as the COO of SafeMoon. . . .”150 The
     6 article further observed:
     7         When a company fails to deliver on a product and announces “technical
     8         issues” hours before the release while marketing the same product on
     9         billboards for weeks using investors money; the top heads are most
   10          likely asked to resign and the same has happened with SafeMoon.
   11          Along with Haines, Wyatt, a software engineer of the company, also
   12          resigned the same day.151
   13          189. The price of the SAFEMOON Tokens dropped after this
   14 announcement, going from a close of $0.000000153 on September 9, 2021 to the
   15 low for the day of $0.00000119 on September 10, 2021.
   16          190. In the wake of Haines-Davies’ departure, other executives at the
   17 Company left under similar circumstances.
   18          191. For example, on September 10, 2021, Smith, in an apparent response to
   19 the string of high-profile departures from the Company, stated on his personal
   20 Twitter account: “THE SHOW GOES ON.”152 That same day, Smith posted a clip
   21 from the movie “The Wolf of Wall Street,” wherein the main character defiantly
   22 announces, “I’m not leaving.”153
   23
         150
            Vinod Dsouza, SafeMoon Developers Flee at Slightest Sign of Trouble, Top
   24 Honchos Resign over Wallet Fiasco, INTERNATIONAL BUSINESS TIMES (Nov. 8,
      2021),    https://www.ibtimes.sg/safemoon-developers-flee-slightest-sign-trouble-
   25 top-honchos-resign-over-wallet-fiasco-60161.
      151
   26       Id.
      152
            Smith (@papacthulu), Twitter (Sept. 10, 2021), https://twitter.com/
   27 papacthulu/status/1436324460903243778?s=20&t=WJt3_7ruyHQtbxm2OykCHQ.
      153
   28       Smith (@papcthulu), Twitter (Sept. 10, 2021), https://twitter.com/
      papacthulu/status/1436324040650760195?s=20&t=WJt3_7ruyHQtbxm2OykCHQ.
                                             51
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     1         192. On September 11, 2021, Ginger posted a message on Twitter to the
     2 SafeMoon community: “#SAFEMOONARMY what if I told you your wallet was
     3 delayed because some of your devs were distracted making their own? What if it
     4 was a wallet that directly competed with Safemoon? He can’t leave Safemoon if he
     5 mentally checked out months ago. #followthewallets”154 Upon information and
     6 belief, Ginger was referencing Smith here and Smith’s failure to complete the
     7 SafeMoon wallet on time, due to his being too busy working on the Piggy token.
     8         193. On November 5, 2021, Smith issued a statement on his personal Twitter
     9 account: “Bullish on the team, I love working @safemoon.”155 Karony publicly
   10 replied to this message with a GIF image signifying agreement and the power of
   11 brotherhood.156 Just under three weeks later, Karony announced that Smith was
   12 leaving the Company.157
   13          194. Around the same time that numerous Company executives were
   14 abandoning SafeMoon rocketship, Karony made the following statement about the
   15 Company’s identity as a cryptocurrency project on the SafeMoon account on
   16 Discord: “SafeMoon is NOT token project. We are a tech company, that uses
   17 SafeMoon as the connecting agent in our ecosystem.”158 Karony followed that post,
   18 clarifying that SafeMoon as a “blockchain innovation company.”159
   19
   20
         154
   21           Ginger (@TheGingerRBTC), Twitter (Sept. 11, 2021), https://twitter.com/
         TheGingerRBTC/status/1436865402831732738?s=20&t=A9Z3BOmDCPm1XRas
   22    cXTqPQ.
         155
                Smith (@papacthulu), Twitter (Nov. 5, 2021), https://twitter.com/
   23    papacthulu/status/1456818387322036230?s=20&t=G-394qt2e5FNZ9F6fecquw:
         “Bullish on the team, I love working at @safemoon.”
   24    156
                Karony (@CptHodl), Twitter (Nov. 5, 2021), https://t.co/96OYsVD1TJ.
   25    157
                Karony (@CptHodl), Twitter (Nov. 23, 2021), https://twitter.com/
         CptHodl/status/1463150393160990725?s=20&t=trjCS8pVW1C-M1f6iksEqw.
   26    158
                A screenshot of Karony’s statements from his Discord account was uploaded
   27    on the SafeMoonInvesting subreddit account and can be found at:
         https://www.reddit.com/r/SafeMoonInvesting/comments/sxsggw/blockchain_innov
   28    ation_company/.
         159
                Id.
                                                 52
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     1         195. On November 22, 2021, the Company’s official Twitter account
     2 promoted the We’re All Gonna Make It coin” (“WAGMI”) – a highly speculative
     3 digital asset (similar to Dogecoin) that was trending at the time.160
     4         196. Way again promoted SafeMoon’s activities, warning investors:
     5 “Safemoon just tweeted about WAGMI. Don’t miss the rocket.”161
     6         197. In the following weeks, the price and trading volume of the
     7 SAFEMOON Tokens continued to fall despite the promotional efforts of
     8 Defendants. Something else had to be done to keep the funding in the liquidity pool
     9 and ill-gotten gains in Defendants’ wallets.
   10          Outright Theft Under the Veneer of a Token Swap
   11          198. Not satisfied with the ill-gotten profits they already made throughout
   12 2021 from their SAFEMOON Tokens sales, the Executive Defendants, in particular,
   13 Karony, shifted to a different way to fleece their investors: the hard fork scam.
   14          199. The hard fork scam is fairly straightforward despite the technological
   15 jargon. The term “hard fork” as it relates to blockchain technology describes a
   16 “radical change to a network’s protocol” and “requires all nodes or users to upgrade
   17 to the latest version of the protocol software.”162 Essentially, with a hard fork, the
   18 blockchain will no longer proceed in one line, but rather it will have two branches:
   19 one that follows the previous protocol and one that follows the new version.
   20 “Generally, after a short time, those on the old chain will realize that their version
   21 of the blockchain is outdated or irrelevant and quickly upgrade to the latest
   22 version.”163
   23
         160
             @SafeMoon 2.0         , Twitter (Nov. 22, 2021), https://twitter.com/
   24 safemoon/status/1461460219251380229?s=20&t=mwc81B1H_z3uloVjS68mcw:
      “WAGMI.”
   25 161
             Way (@souljaboy), Twitter (Nov. 22, 2021), https://twitter.com/souljaboy/
   26 status/1462956016388083713?lang=en.
      162
             Jake Frankenfield, Hard Fork (Blockchain), INVESTOPEDIA (June 24, 2021),
   27 https://www.investopedia.com/terms/h/hard-fork.asp#:~:text=What%20Is%
      20a%20Hard%20Fork,version%20of%20the%20protocol%20software.
   28 163
             Id.
                                             53
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     1         200. “The scammer only makes money with the hard fork scam if lots of
     2 people hear about it, so they trick people into spreading their scam by promising
     3 them additional free coins from the fork.”164 Those behind the scam will also require
     4 people to join the project’s various social media accounts, “which makes it look like
     5 there is more active community behind the project than there really is.”165 Those
     6 following these directives for the purpose of receiving additional tokens for “free”
     7 do not know the actual value of these coins until after launch.
     8         201.   While this first phase of a hard fork scam resembles a kind of pump
     9 and dump scheme wherein the scammer artificially inflates the price and volume in
   10 order to sell of their pre-sale holdings, the second phase is more akin to outright
   11 theft. Usually, the scammer will assure everyone that they can use their own wallets
   12 to be able to claim the hard fork, but they cannot hold the coins on an exchange.
   13 This is “setting up for a sleight of hand later which is designed to steal your secret
   14 keys” to open your wallets and steal the tokens within.166
   15          202. As the name emphasizes, the private keys to an investor’s
   16 cryptocurrency wallet are meant to be kept “secret.” These keys are the final failsafe
   17 against theft of one’s cryptocurrency. “Most people are used to operating in the
   18 context where if a password is compromised, even for a bank account, usually the
   19 damage is at least somewhat reversible. Crypto is different: if you share your private
   20 keys, you lose everything. There is no recourse for getting back your stolen bitcoin,
   21 ether, or other tokens.”167 This is a foundational truism for investing in digital assets,
   22
   23
   24    164
               StellarGuard, Anatomy of a Stellar Scam: The Hard Fork, MEDIUM (Dec. 8,
         2018), https://medium.com/stellar-community/anatomy-of-a-stellar-scam-the-hard-
   25    fork-4ac89808fd38.
         165
   26          Id.
         166
               Id.
   27    167
               Dan Elitzer, Opinion – Friends Don’t Let Friends Do Bad Crypto, COINDESK
   28    (Nov. 17, 2017), https://www.coindesk.com/markets/2017/11/17/friends-dont-let-
         friends-do-bad-crypto/.
                                                54
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     1 and given its vital importance, many in the crypto community believe that the “first
     2 rule of crypto” is to “never, ever, EVER share your private key.”168
     3         203. On December 12, 2021, Karony posted the following message on his
     4 personal Twitter account: “Shoutout to our brilliant community, the product team
     5 and all #SAFEMOON employees for all the hard work these past 9 months, looking
     6 forward to the next 9 of evolution. Always out front! #SAFEMOONV2 is the
     7 #Evolution.” Karony also posted some frequently asked questions about the V2
     8 Migration and provided answers on the Company’s behalf.169
     9         204. That same day, a developer by the name of SafeMoon LLC (the same
   10 name as one of the SafeMoon entities that was quietly created by Karony) announced
   11 and facilitated a hard fork of the SafeMoon protocol, which was referred to as the
   12 “V2 Migration.”
   13          205. The V2 Migration related to the Company’s efforts to transfer the value
   14 of the V1 SAFEMOON Token and its associated liquidity pool into the newly
   15 minted V2 SAFEMOON token and its associated liquidity pool(s).                The V1
   16 SAFEMOON Token was a part of the liquidity pool that was used when the
   17 Company launched. V2 SAFEMOON Token was created on April 24, 2021.
   18          206. Notably, the smart contract that applies the 5% liquidity tax on all
   19 SAFEMOON Token transactions – which Defendants stated would serve as
   20 automatically-generated liquidity for SAFEMOON Token transactions – also had a
   21 particular wallet address written into the code: the wallet address that supplied the
   22 V1 liquidity pool. This means that although swapping can (and does) occur on the
   23 V2 liquidity pool, the actual funding is still deposited into the V1 liquidity pool. If
   24
   25
         168
             Id.; William C., NEVER Share Your Private Keys!, MEDIUM (Aug. 3, 2018),
   26 https://medium.com/@deathd0tcom/never-share-your-private-keys-d117471fda07
      (“Remember, no one should ask you for your Private Keys and you should never
   27 share them with anyone!”).
      169
   28        Karony (@CptHodl), Twitter (Dec. 12, 2021), https://twitter.com/
      CptHodl/status/1470053508443475973?s=20&t=szGCN Kn90fZ3Mf17c_ZQzw.
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     1 the V1 liquidity pool’s funds are not migrated to the V2 liquidity pool, then those
     2 funds become effectively useless for their intended purpose.
     3         207. By designing the dueling liquidity pool structure like this, the Company
     4 nullified one of the key selling points within its whitepaper. Specifically, the
     5 Company’s change undercut its promised “solution” to the problem of liquidity
     6 provisioning as described in the Company’s whitepaper:
     7         Historically, developers created incentives aimed at users to provide
     8         liquidity which can be outweighed by risk due to the subjectivity of
     9         impermanent loss. As a solution, we propose utilizing a smart contract
   10          function to automatically capture liquidity to be used on the
   11          decentralized exchanges and held in custody independent from user
   12          possession.
   13                                   *      *      *
   14          Problems arise when the liquidity pool provider loses the incentive to
   15          add tokens into the pool, which occurs after the token pair is subjected
   16          to impermanent loss resulting from arbitrage.
   17          As a solution, Liquidity can be taken as a function of the smart contract
   18          using market activity from all swaps and transfers. A portion of these
   19          swaps and transfers will be captured by the smart contract and utilized
   20          with the function: “_swapAndLiquify”. For this to happen, the portion
   21          of the 5% fee from swap and transfers can be kept in a standalone pool
   22          within the contract itself and automatically converted to the liquidity
   23          pool after the token count reaches a threshold, set at 500 billion
   24          tokens.170
   25          208. The only transfer of value from the V1 liquidity pool to the V2 liquidity
   26 pool occurred on May 12, 2021 when the Company cashed in LP Tokens from the
   27
   28    170
               See fn.10, supra.
                                             56
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     1 V1 liquidity pool and transferred that liquidity in the V2 liquidity pool.171
     2 Conversely, the SafeMoon LLC wallet address 0x79c4af has and continues to
     3 receive transfers of value from the V1 liquidity pool.172 Those funds then remain in
     4 that wallet instead of being transferred and/or converted into the V2 liquidity pool.
     5         209. The Company promoted the V2 Migration as an offer to investors
     6 holding the VI SAFEMOON Tokens would be given a 1000:1 conversion rate of V2
     7 SAFEMOON Tokens.           Defendants encouraged investors to download a new
     8 SafeMoon wallet (which finally debuted after long delays and technical difficulties)
     9 and then directly transfer their V1 holdings into the new wallet.           After the
   10 SAFEMOON Tokens arrived in the new wallet safely, investors were directed by
   11 the Company to convert the V1 SAFEMOON Tokens into V2 SAFEMOON Tokens
   12 while inside the new wallet.
   13          210. Unbeknownst to investors, when they complied with the Company’s
   14 instructions, they were also charged an undisclosed 10% processing fee or “tax”
   15 when making these transactions.173
   16          211. After receiving complaints from investors who were surprised by the
   17 tax, the Company reduced the fee amount from 10% to 2%. This, in turn, caused an
   18 arbitrage-like event wherein investors could purchase the V1 SAFEMOON Tokens
   19 at a lower price than V2 SAFEMOON Tokens and then convert those V1
   20 SAFEMOON Tokens into exponentially more V2 SAFEMOON Tokens due to the
   21 1000:1 conversion rate minus the minimal 2% fee. The Company then increased the
   22
   23
   24    171
              https://bscscan.com/tx/0xe8a786a9334553fc575bc0df8ddabdbd0e9296c23c
   25    07dac5be489dedd2bee912;      https://bscscan.com/token/0xff3dd404afba451328de
         089424c74685bf0a43c9?a=0x79c4af7c43f500b9ccba9396d079cc03dfcafda1#toke
   26    nAnalytics.
         172
              https://bscscan.com/address/0x79c4af7c43f500b9ccba9396d079cc03dfcaf
   27    da1.
         173
   28         See @SafeMoon 2.0          , Twitter (Dec. 18, 2021), https://twitter.com/
         safemoon/status/1472174876429586432?s=20&t=sz GCNKn90fZ3Mf17c_ZQzw.
                                                57
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     1 fee amount back to 10%, but this did not remove the dangers the Company’s
     2 previous attempt to encourage the migration from V1 to V2 tokens had created.
     3         212. In the following days, the Company raised and lowered the fee
     4 percentages repeatedly.174 But the first phase of the hard fork scam and related
     5 growth strategy that the Karony devised with the V2 Migration had opened
     6 pandora’s box. Many investors had faithfully held on to their SAFEMOON Tokens
     7 despite the rug pull that Nagy, Smith, Haines, Wyatt, and the Promotor Defendants
     8 orchestrated in 2021 because of the Company’s and Karony’s repeated reassurances
     9 that the proverbial SafeMoon rocketship was still on course to the moon.
   10          213. By the time the V2 Migration was under way, many of those faithful
   11 “hodlers” had suffered massive unrealized losses and the favorable conversion rate
   12 offered a way for investors to mitigate their losses by buying more V1 SAFEMOON
   13 Tokens in an effort to average down their respective dollar cost averages. The
   14 Company and Karony’s greed could not let this stand.
   15          214. In response, the Company and Karony engaged in a media campaign
   16 push to have the remaining V1 SAFEMOON Token holders transfer to V2 and to
   17 stop buying more V1 SAFEMOON Tokens. They offered investors a “migration”
   18 portal to achieve this. The major problem was that, in order to use the migration
   19 portal, the Company required SafeMoon investors to break the “first rule of crypto.”
   20 V1 SAFEMOON Token holders were told to share their private keys to their existing
   21 wallets with SafeMoon’s barely-field tested, proprietary software wallet (which has
   22 had publicized issues, from its launch), or linking their existing wallets with
   23 SafeMoon’s website.
   24          215. Approximately 3,000,000 wallet holders rejected the Company’s offer
   25 to use the migration portal because it required those investors to either expose their
   26
   27    174
            See @SafeMoon 2.0        , Twitter (Dec. 21, 2021), https://twitter.com/
      safemoon/status/1473406130965602311?s=20&t=sz GCNKn90fZ3Mf17c_ZQzw:
   28 “The V1 contract tax rate will be changed to 20% (19% LP Generation, 1%
      Reflections).”
                                           58
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     1 private keys or link their unlocked wallets, which often contain other tokens and
     2 digital assets, to the questionable SafeMoon wallet. Again, this was a situation that
     3 Karony and the Company did not want.
     4         216. In a desperate response to investors gaining back some of the unrealized
     5 losses that had suffered at the hands of Defendants, Karony and the Company gave
     6 a final kick to all of those SafeMoon investors.
     7         217. On December 29, 2021, at approximately 4:00 p.m. EST, SafeMoon
     8 changed the code line running in the SafeMoon smart contract that governs the
     9 transaction fee rate (AKA Tax) to 100%. The Company concurrently announced
   10 this on its official Twitter account, adding that “Migration from V1 to V2 will remain
   11 open indefinitely so nobody is left behind.”175 Karony responded to the Company’s
   12 tweet, saying that “the V1 tax will be changing to 100%. We are moving our full
   13 focus to V2 to evolve the #SAFEMOON ecosystem.”176 In other words, the
   14 Company implemented a 100% tax on every sale, purchase, or general transfer of
   15 V1 SAFEMOON Tokens from one wallet to another. In effect, the Company, at
   16 Karony’s direction, seized every V1 SAFEMOON Token they could from
   17 unsuspecting investors.
   18          218. The Company did not provide any, much less sufficient, notice to
   19 investors of the impending full taxation prior to its implementation on December 29.
   20 Indeed, the Company’s website did not indicate any change had occurred until
   21 approximately ten hours later when a small, generalized banner was added, which
   22 stated that V1 support had come to an end and directed investors to migrate to V2.
   23 On its face, this banner did not include any disclosure regarding the 100% taxation.
   24 Subsequently, sometime in January 2022, the banner was updated to include a sub
   25
   26
         175
   27      @SafeMoon 2.0         , Twitter (Dec. 29, 2021), https://twitter.com/
      safemoon/status/1476198900717342724?s=20&t=szGC NKn90fZ3Mf17c_ZQzw.
   28 176  Karony (@CptHodl), Twitter (Dec. 29, 2021), https://twitter.com/
      CptHodl/status/1476206499898691589?s=20&t=szGC NKn90fZ3Mf17c_ZQzw.
                                          59
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     1 icon “read more” which, when clicked on, led to a second banner than mentioned
     2 the taxation.
     3        219. This hyper version of the hard fork scam took place over a 17-day
     4 period from December 12, 2021 to December 29, 2021, but investors unaware of
     5 Karony’s secret tax continued to suffer complete losses of their SAFEMOON
     6 Tokens afterwards. The Company’s change to the smart contract created a trading
     7 environment of uncertainties, which have been resulting in mounting losses, for
     8 existing tokens holders and those attempting to buy them.
     9        The Dump – SAFEMOON Token Price Plummets
   10         220. Following the SAFEMOON Token’s launch and Defendants’
   11 promotional activities beginning in March 2021, the trading volume and price of
   12 SafeMoon surged.       By April 20, 2021, SAFEMOON Tokens already had a
   13 transaction volume of over $144 million, up approximately 1,747% in just over a
   14 month. That same day, the SAFEMOON Token reached its maximum price of
   15 $0.000011, which represents a rise of approximately 2,749,900% more than its
   16 initial launch price of $0.0000000004.
   17         221. However, this astronomical rise was short-lived.              After the
   18 SAFEMOON Token price and trading volume spiked following the launch,
   19 Defendants began the “slow rug pull” on investors. This term refers to a situation in
   20 the cryptocurrency sector where the developers and insiders of a token deceive
   21 investors by encouraging them to purchase the token with promises of future
   22 success, while, at the same time, slowly selling off their own holdings as the trading
   23 volume from retail investors remains inflated.
   24         222. On December 31, 2021, the price of the SAFEMOON Token hit a low
   25 of $0.0000006521 per token, an over 80% drop from its height during the Class
   26 Period, which it has not been able to recover. As of the filing of this Complaint, the
   27
   28
                                         60
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     1 trading volume for the SAFEMOON Token has plummeted to around only
     2 $60,000.177
     3         223. The Promoter Defendants’ improper promotional activities generated
     4 the trading volume needed for all the Defendants to offload their SAFEMOON
     5 Tokens onto unsuspecting investors. While Plaintiff and Class members were
     6 buying the inappropriately promoted SAFEMOON Tokens, Defendants were able
     7 to, and did, sell their SAFEMOON Tokens during the Class Period for substantial
     8 profits.
     9         224. On or about December 1, 2021, Smith participated in telephonic debate
   10 with Ginger regarding what had occurred with the Piggy and Nobility tokens.
   11 During that debate, Ginger read a sworn statement he had prepared on November
   12 29, 2021, which read in relevant part: “On the 21st of May, at roughly 1AM I was
   13 asked to join a call with Thomas Smith and Trevor Church. During the call with
   14 Thomas and Trevor, many statements were made by Thomas, including, but not
   15 limited to, “Piggy is the perfect contract. I took the SafeMoon contract and improved
   16 it. The best thing about Piggy is the fact that nobody owns it. It can’t be sued. . . .
   17 What made SafeMoon special was that it was made to be a rug-pull. Not that we
   18 intented to pull, but the very feature that makes it ruggable is the feature that makes
   19 it function so well. What the contract needed was a team that would never rug. . . .
   20 In the beginning of SafeMoon, Kyle asked me to come on board along with Trevor.
   21 John is my fault. I brought him on. I’m sorry for that.”178
   22          225. In response, Smith did not directly deny any of Ginger’s allegations,
   23 but rather stated there were “some inaccuracies here.” Smith also hinted that he had
   24 a “secret” about whether the Executive Defendants “defrauded” investors. Smith
   25 then claimed everything was “fine” and that Karony had texted Smith on November
   26
   27    177
            See fn. 74, supra.
   28    178
            Ginger (RBTC Public), Ginger & Thomas Twitter Space Debate, YouTube
      (Dec. 1, 2021), https://youtu.be/abyQA4BOaXw.
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     1 4th that the “FBI stuff went really well the matter is now closed.” Smith later
     2 clarified that the FBI was interested in the findings of the “Doxxlocker” due
     3 diligence report. The Doxxlocker report questioned certain transactions that sent
     4 approximately $68.4 million in SAFEMOON Tokens from the Protocol Deployer
     5 wallet to unrecognized wallets instead of returning those funds to the liquidity pool.
     6        226. The SAFEMOON Token price still has not recovered and trading
     7 volume remains down, significantly.
     8        The SAFEMOON Token is a Security that the Company and Executive
              Defendants Failed to Register Before Selling
     9
   10         A.     SAFEMOON Tokens Are Securities
   11         227. Under Section 2(a)(1) of the Securities Act of 1933 (“Securities Act”),
   12 a “security” is defined to include an “investment contract.” 15 U.S.C. § 77b(a)(1).
   13 An investment contract is “an investment of money in a common enterprise with
   14 profits to come solely from the efforts of others.” S.E.C. v. W.J. Howey Co., 328 U.S.
   15 293, 301 (1946). Specifically, a transaction qualifies as an investment contract and,
   16 thus, a security if it is: (1) an investment; (2) in a common enterprise; (3) with a
   17 reasonable expectation of profits; and (4) to be derived from the entrepreneurial or
   18 managerial efforts of others. See United Housing Found., Inc. v. Forman, 421
   19 U.S. 837, 852-53 (1975). This definition embodies a “flexible rather than a static
   20 principle, one that is capable of adaptation to meet the countless and variable schemes
   21 devised by those who seek the use of the money of others on the promise of profits,”
   22 and thereby “permits the fulfillment of the statutory purpose of compelling full and
   23 fair disclosure relative to the issuance of ‘the many types of instruments that in our
   24 commercial world fall within the ordinary concept of a security.’” W.J. Howey, 328
   25 U.S. at 299. Accordingly, in analyzing whether something is a security, “form should
   26 be disregarded for substance,” and the emphasis should be “on economic realities
   27 underlying a transaction, and not on the name appended thereto.” Forman, 421 U.S.
   28 at 849.
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     1        228. Investors who bought SAFEMOON Tokens invested money or other
     2 valuable consideration, in a common enterprise: namely SafeMoon. Investors had a
     3 reasonable expectation of profit based upon the efforts of the Defendants, including,
     4 among other things, Defendant obtaining favorable listings of their SAFEMOON
     5 Tokens on cryptocurrency exchanges such as Pancakeswap.
     6               1.    SAFEMOON Token Investors Invested Money
     7        229. Plaintiff and the Class invested fiat, including U.S. dollars, and digital
     8 currencies, such as Bitcoin and Ethereum, to purchase SAFEMOON Tokens.
     9        230. The SAFEMOON Tokens were listed on cryptocurrency exchanges
   10 like Pancakeswap, which allowed retail investors to purchase SAFEMOON Tokens
   11 with traditional and other digital currencies.
   12         231. Defendants sold SAFEMOON Tokens to the general public through
   13 global, online cryptocurrency exchanges during its so-called launch.
   14         232. Every purchase of SAFEMOON Tokens by a member of the public is
   15 an investment contract.
   16               2.     SAFEMOON Token Investors Were Intertwined in a
                           Common Enterprise with Defendants
   17
   18         233. Additionally, investors were passive participants in the SAFEMOON
   19 Tokens’ launch and the profits of each Plaintiff and the Class were intertwined with
   20 those of Defendants and of other investors. SafeMoon concedes that it uses the
   21 funds from the SAFEMOON liquidity pool to also fund its operations and
   22 promote projects on the SAFEMOON blockchain.
   23         234. Defendants also were responsible for supporting the SAFEMOON
   24 Tokens, pooled investors’ assets, and controlled those assets.
   25         235. Further, Defendants held and/or hold a significant stake in the
   26 SAFEMOON Tokens, and thus shared in the profits and risk of the project.
   27
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     1              3.      Investors Purchased the SAFEMOON Tokens with a
                            Reasonable Expectation of Profit from Owning Them
     2
     3        236. Investors in the SAFEMOON Tokens, including Plaintiff and the Class,
     4 made their investment with a reasonable expectation of profits. The SAFEMOON
     5 Tokens were sold to investors prior to a network or “ecosystem” being fully
     6 developed on which they could be used. For pre-functional tokens, such as the
     7 SAFEMOON Tokens, the primary purpose for purchasing SAFEMOON Tokens
     8 was to make a profit or accumulate additional “reflections” (i.e., additional tokens
     9 of value), rather than to utilize the SAFEMOON Tokens themselves for a task.
   10               4.      Investors Expected Profits from the SAFEMOON Tokens to
                            Be Derived from the Managerial Efforts of the Executive
   11                       Defendants
   12         237. Investors’ profits in the SAFEMOON Tokens were to be derived from
   13 the managerial efforts of others ‒ specifically the Company and the Executive
   14 Defendant.         SAFEMOON Token investors relied on the managerial and
   15 entrepreneurial efforts of the Executive Defendants to manage, oversee, and/or
   16 develop the projects funded by sale of the SAFEMOON Tokens.
   17         238. Purchasers of pre-functional tokens necessarily rely on the managerial
   18 efforts of others to realize value from their investments. The success of these
   19 managerial efforts in developing the networks on which these tokens will operate is
   20 the primary factor in their price, that is, until such tokens transition into being
   21 functional utility tokens.
   22         239. Each of the SAFEMOON Tokens was a security at issuance because
   23 profit from the SAFEMOON Tokens would be derived primarily from the
   24 managerial efforts of SafeMoon’s teams developing the associated networks on
   25 which the SAFEMOON Tokens would function, rather than having their profit
   26 derived from market forces of supply and demand, such as might affect the price of
   27 a commodity such as gold (or Bitcoin).
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     1         240. Investors in SAFEMOON Tokens relied on the managerial and
     2 entrepreneurial efforts of SafeMoon and the Executive Defendants to manage,
     3 market, and develop the so-called SafeMoon ecosystem.
     4         241. The Executive Defendants typically held themselves out to investors as
     5 experts in the blockchain and crypto field. Investors in the SAFEMOON Tokens
     6 reasonably expected the SafeMoon development teams to provide significant
     7 managerial efforts after the SAFEMOON Tokens’ launch.
     8         242. Investors in SAFEMOON Tokens thus reasonably expected the
     9 Company and Executive Defendants to provide significant managerial efforts
   10 after the token launch.
   11          243. This dependency, however, on the managerial efforts of the Company
   12 and Executive Defendants was not apparent at issuance to a reasonable investor.
   13 Considering the limited available information about how these SAFEMOON Tokens
   14 were designed and intended to operate, if such an investor were even able to interpret
   15 the relevant law at the time, a reasonable investor lacked sufficient bases to conclude
   16 whether the SAFEMOON Tokens were securities until the platform at issue, and its
   17 relevant “ecosystem,” had been given time to develop. In the interim, the investor
   18 lacked the facts necessary to conclude ‒ let alone formally allege in court ‒ that the
   19 tokens she had acquired were securities. It was only after certain revelations that
   20 provided more information about Defendant’s intent, SafeMoon’s token economics,
   21 and how the Executive Defendants operated to hide their ownership in both the
   22 Company and the SAFEMOON Token, that an investor could reasonably determine
   23 that a token that was advertised as something other than a security was a security all
   24 along.
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     1         B.    Investors Would Not Reasonably Have Understood that
                     SAFEMOON Tokens Were Securities
     2
     3         244. In connection with the SAFEMOON Token launch, the Company and
     4 Executive Defendants made statements that reasonably led Plaintiff and Class
     5 members to conclude that the SAFEMOON Tokens were not securities.
     6         245. As a threshold matter, the Company refused to register SAFEMOON
     7 Tokens with the SEC, which indicated to investors that these were not securities.
     8 No such valid exemption from registration requirements exists for SAFEMOON
     9 Tokens.
   10          246. Additionally, SafeMoon’s whitepaper refers to “new use cases” for the
   11 SAFEMOON Tokens,179 suggesting to investors that SAFEMOON Tokens were
   12 “utility tokens,” rather than “security tokens” (which would be securities that would
   13 have to be registered with the SEC).
   14          247. At the time of the SAFEMOON Token launch, Defendants took
   15 advantage of the market’s lack of understanding and awareness concerning how
   16 cryptocurrency projects – particularly decentralized finance projects – work.
   17 Considering the new technology at issue and the Company’s other statements, many
   18 investors     were   understandably    unaware   that   SAFEMOON       Tokens    had
   19 fundamentally different features than other cryptocurrencies, which the SEC has
   20 determined are not securities.180
   21          248. Karony himself stated on September 25, 2021, that “SafeMoon is NOT
   22 a token project. We are a tech company, that uses SafeMoon as the connecting agent
   23 in our ecosystem.”181 Karony echoed this sentiment in an article on December 21,
   24
   25
   26    179
            See fn.10, supra.
   27    180
            Note – there is some statement of policy on the Ethereum which noted that
      the ICO was problematic, but noted it was long after any SOL had run out.
   28 181
            See fn.158, supra.
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     1 2021, being quoted as saying: “SafeMoon is actually a tech company, it’s a
     2 blockchain innovation company.”182
     3         249. Moreover, the SafeMoon project was advertised as developing
     4 revolutionary and cutting edge blockchain technology that was safer than existing
     5 products. Unbeknownst to investors, most of the products ultimately produced by
     6 the SafeMoon developers like Smith were simply knockoffs of other existing
     7 products.
     8         250. In addition to claiming SafeMoon’s technical superiority over other
     9 cryptocurrencies, the Company also indicated that it would benefit financially and
   10 use the funds raised through SAFEMOON Token launch to continue to enhance the
   11 SafeMoon-related products (e.g., wallet and exchange) and support the growth of
   12 the project.
   13          251. At the time of the SAFEMOON Token launch, Defendants took
   14 advantage of the market’s lack of understanding and awareness concerning how this
   15 investment contract worked. With promises that SAFEMOON Tokens would be
   16 better than other cryptocurrencies, many individuals were unaware that
   17 SAFEMOON          Tokens   had   fundamentally    different   features   than   other
   18 cryptocurrencies, including being more centralized than Bitcoin or Ethereum. One
   19 of these primary differences is that all SAFEMOON Tokens were issued by Nagy
   20 and the Company at creation at very little economic cost ‒ and enormous potential
   21 upside ‒ to them.
   22          252. The creation of SAFEMOON Tokens by Nagy and Smith occurred
   23 through a centralized process, in contrast to Bitcoin and Ethereum. This would not
   24 have been apparent at issuance, however, to a reasonable investor. Rather, it was
   25 only after the passage of time and disclosure of additional information about the
   26 issuer’s intent and process of management to arise that a reasonable purchaser could
   27
         182
            Vanessa Armstrong, SafeMoon’s emphatic fanbase won’t let it fail, UTAH
   28 BUSINESS (Dec. 21, 2021), https://www.utahbusiness.com/the-safemoon-fanbase-
      wont-let-this-utah-based-crypto-fail/.
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     1 know that he or she had acquired a security. Purchasers were thereby misled into
     2 believing that the SAFEMOON Token was something other than a security, when it
     3 was a security.
     4        253. Accordingly, it was not apparent to a reasonable investor, at issuance,
     5 that the SAFEMOON Tokens were securities under the law, and a reasonable
     6 investor would not have believed they were securities.
     7        C.     Guidance from the SEC
     8             1.      The SEC’s 2019 Framework
     9        254. On April 3, 2019, the SEC published its “Framework for ‘Investment
   10 Contract’ Analysis of Digital Assets” (the “Framework”) in which it “provided a
   11 framework for analyzing whether a digital asset is an investment contract and
   12 whether offers and sales of a digital asset are securities transactions.”
   13         255. The Framework described how to analyze the various facts surrounding
   14 an ICO in making the determination of whether a given digital asset is a security.
   15         256. In particular, the Framework provides that the “inquiry into whether a
   16 purchaser is relying on the efforts of others focuses on two key issues: Does the
   17 purchaser reasonably expect to rely on the efforts of an [Active Participant or “AP”]?
   18 Are those efforts ‘the undeniably significant ones, those essential managerial efforts
   19 which affect the failure or success of the enterprise,’ as opposed to efforts that are
   20 more ministerial in nature?”
   21         257. The Framework further notes that the “stronger the[ ] presence” of the
   22 following factors, “the more likely it is that a purchaser of a digital asset is relying
   23 on the ‘efforts of others.’”
   24         258. The first factor the SEC looked at was whether an AP is responsible
   25 for the development, improvement (or enhancement), operation, or promotion of the
   26 network, particularly if purchasers of the digital asset expect an AP to be performing
   27 or overseeing tasks that are necessary for the network or digital asset to achieve or
   28 retain its intended purpose or functionality.
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     1         259. At the time of the SAFEMOON Token launch, Defendants actively
     2 marketed the token launch and the SafeMoon project, thereby necessitating the
     3 continued managerial efforts of the Company and Executive Defendants. Where
     4 the network or the digital asset is still in development and the network or digital asset
     5 is not fully functional at the time of the offer or sale, purchasers would reasonably
     6 expect an AP to further develop the functionality of the network or digital asset
     7 (directly or indirectly).
     8         260. Another factor the Framework considers is whether the AP creates
     9 or supports a market for, or the price of, the digital asset. This includes, inter alia,
   10 whether the AP “(1) controls the creation and issuance of the digital asset; or
   11 (2) takes other actions to support a market price of the digital asset, such as by
   12 limiting supply or ensuring scarcity, through, for example, buybacks, “burning,” or
   13 other activities.”
   14          261. As noted above (see supra, ¶252), all of the SAFEMOON tokens in
   15 circulation were created at the direction of Nagy and Smith. Additionally, Nagy and
   16 Smith also created the protocols by which the SAFEMOON Tokens are burned.
   17          262. The framework further states that “An AP has a continuing
   18 managerial role in making decisions about or exercising judgment concerning the
   19 network or the characteristics or rights the digital asset represents[.]”
   20          263. Here, the Company and Executive Defendants have discussed the long-
   21 term prospects on years-long time frames, continually noting how the SafeMoon
   22 ecosystem will “evolve” in the future.
   23          264. The ability to determine whether and where the digital asset will trade
   24 is another factor discussed in the Framework. For example, “purchasers may
   25 reasonably rely on an AP for liquidity, such as where the AP has arranged, or
   26 promised to arrange for, the trading of the digital asset on a secondary market or
   27 platform.”
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     1         265. Here, SafeMoon’s whitepaper focuses extensively on the ability of the
     2 SAFEMOON Token smart contract to “automatically capture liquidity” and enable
     3 trading of the SAFEMOON Token.183
     4         266. Another factor the Framework notes is whether the AP has the ability
     5 to determine who will receive additional digital assets and under what conditions.
     6 This could be, for example, “[m]aking or contributing to managerial level business
     7 decisions, such as how to deploy funds raised from sales of the digital asset.”
     8         267. Here, the Company, along with the Controlling Defendants, are the
     9 arbiters of funding for SafeMoon project.
   10          268. The Company’s Twitter account also announced that Karony himself
   11 had locked up “$250 MILLION+ DOLLARS WORTH OF LP.” in the liquidity pool
   12 to fund future project and marketing campaigns.184
   13          269. Making other managerial judgements or decisions that will directly or
   14 indirectly impact the success of the network or the value of the digital asset
   15 generally.
   16          270. The Framework also remarks that purchasers would reasonably
   17 expect the AP to undertake efforts to promote its own interests and enhance the value
   18 of the network or digital asset, including, but not limited to, the instances where the
   19 AP “has the ability to realize capital appreciation from the value of the digital asset.
   20 This can be demonstrated, for example, if the AP retains a stake or interest in the
   21 digital asset.”    According to the SEC, in these instances, “purchasers would
   22 reasonably expect the AP to undertake efforts to promote its own interests and
   23 enhance the value of the network or digital asset.”
   24
   25
   26
   27    183
           See fn.10, supra.
      184
   28      @SafeMoon 2.0         , Twitter (Apr. 21, 2021), https://twitter.com/
      safemoon/status/1384869489376907265?s=20&t=SNlPI ut6sbeeQ6RbNX8iw.
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     1         271. Here, several Defendants – including but not limited to Karony and
     2 Arriaga – retain a significant interest in the SafeMoon project even after selling off
     3 many SAFEMOON Tokens at the height of the token launch (see supra).
     4               2.     SEC’s Previous Statements and Findings
     5         272. On May 7, 2021, on CNBC’s “Squawk Box” television program,
     6 chairman of the SEC Gary Gensler stated that “a lot of crypto tokens – I won’t call
     7 them cryptocurrencies for this moment – are indeed securities[.]”185 In addition
     8 to being the Chairman of the SEC, Mr. Gensler is also a world renowned expert on
     9 cryptocurrencies and blockchain technology, having taught the “Blockchain and
   10 Money” course at the Sloan School of Management at the Massachusetts Institute of
   11 Technology (“MIT”).186 [Emphasis added.]
   12          273. In a June 14, 2018 speech entitled “Digital Asset Transactions: When
   13 Howey Met Gary (Plastic)” that is available on the SEC’s website,187 the following
   14 observations were made on “when a digital transaction may no longer represent a
   15 security offering”:
   16          274. If the network on which the token or coin is to function is sufficiently
   17 decentralized – where purchasers would no longer reasonably expect a person or
   18 group to carry out essential managerial or entrepreneurial efforts – the assets may
   19 not represent an investment contract. Moreover, when the efforts of the third party
   20 are no longer a key factor for determining the enterprise’s success, material
   21 information asymmetries recede. As a network becomes truly decentralized, the
   22
   23    185
                Jesse Point, SEC Chairman Gary Gensler says more investor protections are
   24    needed for bitcoin and crypto markets, CNBC (May 7, 2021), https://www.cnbc.com
         /2021/05/07/sec-chairman-gary-gensler-says-more-investor-protections-are-
   25    needed-for-bitcoin-and-crypto-markets.html.
         186
                Lectures and Materials from Chairman Gensler’s MIT course are available to
   26    the public for free at: https://ocw.mit.edu/courses/sloan-school-of-management/15-
         s12-blockchain-and-money-fall-2018/video-lectures/session-1-introduction/.
   27    187
                William Hinman, Digital Asset Transactions: When Howey Met Gary
   28    (Plastic), Remarks at the Yahoo Finance All Markets Summit: Crypto, SEC (Speech)
         (June 14, 2018), https://www.sec.gov/news/speech/speech-hinman-061418.
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     1 ability to identify an issuer or promoter to make the requisite disclosures becomes
     2 difficult, and less meaningful.
     3         275. And so, when I look at Bitcoin today, I do not see a central third party
     4 whose efforts are a key determining factor in the enterprise. The network on which
     5 Bitcoin functions is operational and appears to have been decentralized for some
     6 time, perhaps from inception.
     7         276. A key factor in determining whether a digital asset is a security or not
     8 is whether the there is a centralized entity behind the digital asset.188
     9         277. As discussed above, the circumstances surrounding the creation of the
   10 SAFEMOON Token demonstrate that an exceedingly small number of centralized
   11 insiders maintained exclusive control over the SafeMoon project.
   12          278. Finally, the SEC also already concluded that another virtual currency
   13 (i.e., DAO tokens) that substantially similar to SAFEMOON Tokens are “securities
   14 and therefore subject to the federal securities laws.” As stated by the SEC, “issuers
   15 of distributed ledger or blockchain technology-based securities must register offers
   16 and sales of such securities unless a valid exemption applies.”189
   17                                 CLASS ALLEGATIONS
   18          279. Plaintiff brings this action, individually, and on behalf of a nationwide
   19 class, pursuant to Federal Rules of Civil Procedure 23(a), 23(b)(2), and/or 23(b)(3),
   20 defined as follows:
   21          All persons who, during the Class Period, purchased SafeMoon’s
   22          SAFEMOON Tokens and were subsequently damaged thereby.
   23
   24
   25
   26    188
             Id. (noting that the “decentralized structure” of Bitcoin and Ethereum placed
      these digital assets outside the “disclosure regime of the federal securities laws”).
   27 189
             Press Release, SEC Issues Investigative Report Concluding DAO Tokens, a
   28 Digital   Asset, Were Securities, SEC (July 25, 2017), https://www.sec.gov
      /news/press-release/2017-131.
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     1         280. The Class Period is defined as the period between March 8, 2021 and
     2 the date of this filing.190
     3         281. Excluded from the Class are: (a) Defendants; (b) Defendants’ affiliates,
     4 agents, employees, officers and directors; (c) Plaintiff’s counsel and Defendants’
     5 counsel; and (d) the judge assigned to this matter, the judge’s staff, and any member
     6 of the judge’s immediate family. Plaintiff reserves the right to modify, change, or
     7 expand the various class definitions set forth above, based on discovery and further
     8 investigation.
     9         282. Numerosity: Upon information and belief, the Class is so numerous
   10 that joinder of all members is impracticable. While the exact number and identity
   11 of individual members of the Class is currently unknown, such information being in
   12 the sole possession of SafeMoon and/or third parties and obtainable by Plaintiff only
   13 through the discovery process, Plaintiff believes, and on that basis alleges, that the
   14 Class consists of at least hundreds of people. The number of Class members can be
   15 determined based on SafeMoon’s and other third party’s records.
   16          283. Commonality: Common questions of law and fact exist as to all
   17 members of the Class.          These questions predominate over questions affecting
   18 individual Class members. These common legal and factual questions include, but
   19 are not limited to:
   20          a.     whether the SAFEMOON Tokens are securities under the Securities
   21                 Act;
   22          b.     whether the sale of SAFEMOON Tokens violates the registration of the
   23                 Securities Act;
   24          c.     whether    Defendants    improperly   and   misleadingly    marketed
   25                 SAFEMOON Tokens;
   26
   27
   28    190
               Plaintiff reserves the right to expand or amend the Class Period based on
         discovery produced in this matter.
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     1        d.    whether Defendants’ conduct violates the state consumer protection
     2              statutes asserted herein;
     3        e.    whether Promoter Defendants aided and abetted violations of the state
     4              consumer protection statutes asserted herein;
     5        f.    whether Executive Defendants conspired to artificially inflate the price
     6              of the SAFEMOON Tokens and then sell their SAFEMOON Tokens to
     7              unsuspecting investors;
     8        g.    whether Defendants have been unjustly and wrongfully enriched as a
     9              result of their conduct;
   10         h.    whether the proceeds that Defendants obtained as a result of the sale of
   11               SAFEMOON Tokens, rightfully belongs to Plaintiff and Class
   12               members;
   13         i.    whether Defendants should be required to return money they received
   14               as a result of the sale of SAFEMOON Tokens to Plaintiff and Class
   15               members;
   16         j.    whether Executive Defendants breached the implied covenant of good
   17               faith and fair dealing; and
   18         k.    whether Plaintiff and Class members have suffered damages, and, if so,
   19               the nature and extent of those damages.
   20         284. Typicality: Plaintiff has the same interest in this matter as all Class
   21 members, and Plaintiff’s claims arise out of the same set of facts and conduct as the
   22 claims of all Class members. Plaintiff’s and Class members’ claims all arise out of
   23 SafeMoon’s uniform misrepresentations, omissions, and unlawful, unfair, and
   24 deceptive acts and practices related to the sale of SAFEMOON Tokens.
   25         285. Adequacy: Plaintiff has no interest that conflicts with the interests of
   26 the Class and are committed to pursuing this action vigorously. Plaintiff has retained
   27 counsel competent and experienced in complex consumer class action litigation.
   28
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     1 Accordingly, Plaintiff and her counsel will fairly and adequately protect the interests
     2 of the Class.
     3         286. Superiority: A class action is superior to all other available means of
     4 fair and efficient adjudication of the claims of Plaintiff and members of the Class.
     5 The injury suffered by each individual Class member is relatively small compared
     6 to the burden and expense of individual prosecution of the complex and extensive
     7 litigation necessitated by the Company’s conduct. It would be virtually impossible
     8 for individual Class members to effectively redress the wrongs done to them. Even
     9 if Class members could afford individualized litigation, the court system could not.
   10 Individualized litigation would increase delay and expense to all parties, and to the
   11 court system, because of the complex legal and factual issues of this case.
   12 Individualized rulings and judgments could result in inconsistent relief for similarly
   13 situated individuals.     By contrast, the class action device presents far fewer
   14 management difficulties, and provides the benefits of single adjudication, economy
   15 of scale, and comprehensive supervision by a single court.
   16          287. Defendants have acted or refused to act on grounds generally applicable
   17 to the Class, thereby making appropriate final injunctive relief and corresponding
   18 declaratory relief with respect to the Class as a whole.
   19              CALIFORNIA LAW APPLIES TO THE ENTIRE CLASS
   20          288. California’s substantive laws apply to every member of the Class,
   21 regardless of where in the United States the Class members reside.
   22          289. California’s substantive laws may be constitutionally applied to the
   23 claims of Plaintiff and the Class under the Due Process Clause, 14th Amend. §1, and
   24 the Full Faith and Credit Clause, Art. IV §1, of the U.S. Constitution. California has
   25 significant contact, or significant aggregation of contacts, to the claims asserted by
   26 Plaintiff and all Class members, thereby creating state interests that ensure that the
   27 choice of California state law is not arbitrary or unfair.
   28
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     1        290. Two of the Executive Defendants (Witriol and Arriaga) primarily
     2 reside in and operate out of California. In particular, upon information and belief,
     3 all of the promotional activities of Witriol and Arriaga on behalf of SafeMoon
     4 described above originated in, and were disseminated from, California.
     5 Additionally, Arriaga developed the Company’s wallet – which, as discussed in
     6 further detail above, was the subject of numerous misleading statements from all of
     7 the Executive Defendants – entirely in California.         Relatedly, Witriol directly
     8 promoted SAFEMOON Tokens specifically to investors in California.
     9        291. On information and belief, the decision-making regarding the
   10 parameters of the marketing strategy for the SAFEMOON Tokens occurred in,
   11 and/or emanated from California, where Witriol and Arriaga are located. As such,
   12 the conduct complained of herein emanated from California. This conduct similarly
   13 injured and affected Plaintiff and all other Class members.
   14         292. Additionally, several of the Promotor Defendants reside in, or operate
   15 out of California. In particular, Paul and Way reside in Calabasas and Los Angeles,
   16 respectively. Upon information and belief, the misleading statements alleged herein
   17 and published on various social media platforms by Paul and Way emanated from
   18 California.
   19         293. The application of California laws to the Class is also appropriate under
   20 California’s choice of law rules because California has significant contacts to the
   21 claims of Plaintiff and the proposed Class, and California has a greater interest in
   22 applying its laws here than any other interested state.
   23                             FIRST CAUSE OF ACTION
   24                             Section 10(b) and Rule 10b-5
                                    (Against All Defendants)
   25
   26         294. Plaintiff restates and realleges all preceding allegations above as if fully
   27 set forth herein.
   28         295. Plaintiff incorporates the allegations above.
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     1        296. Plaintiff brings this claim for violations of Section 10(b) of the
     2 Securities Exchange Act of 1934 (“Exchange Act”), 15 U.S.C. §78j(b), and Rule
     3 10b-5(b) promulgated thereunder, 17 C.F.R. §240.10b-5(b).
     4        297. Plaintiff brings this claim on behalf of all Class members who
     5 purchased SAFEMOON Tokens from March 8, 2021 to the time of this filing.
     6        298. The SAFEMOON Tokens are securities within the meaning of Section
     7 2(a)(1) of the Securities Act, 15 U.S.C. §77b(a)(1). Moreover, the Company’s CEO,
     8 Karony, has admitted that SafeMoon is not a token project. Instead, as a self-
     9 described “tech company,” Defendants sold these securities to Plaintiff and the other
   10 Class members during and after the March 2021 launch.
   11         299. Section 10(b) and Rule 10b-5(b) make it illegal, in connection with the
   12 purchase or sale of any security, “for any person, directly or indirectly, by the use of
   13 any means or instrumentality of interstate commerce, or of the mails or of any
   14 facility of any national securities exchange . . . to make any untrue statement of a
   15 material fact or to omit to state a material fact necessary in order to make the
   16 statements made, in the light of the circumstances under which they were made, not
   17 misleading.”
   18         300. Defendants carried out a plan, scheme, and course of conduct that
   19 SafeMoon intended to and did deceive the retail investors – Plaintiff and the other
   20 Class members – who acquired SAFEMOON Tokens pursuant to the March 2021
   21 launch offering and thereby caused them to purchase SAFEMOON Tokens at
   22 artificially inflated prices.
   23         301. In connection with the March 2021 launch of SAFEMOON Tokens,
   24 Defendants disseminated, approved, and/or endorsed the false statements described
   25 herein, which these Defendants knew or recklessly should have known were
   26 materially misleading in that they contained material misrepresentations and failed
   27 to disclose material facts necessary in order to make the statements made, in light of
   28 the circumstances under which they were made, not materially misleading.
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     1         302. Defendants employed devices, schemes, and artifices to defraud; made
     2 untrue statements of material fact and omitted to state material facts necessary to
     3 make the statements made not misleading; and engaged in acts, practices, and a
     4 course of business that operated as a fraud and deceit upon the Class members that
     5 resulted in artificially high market prices for SAFEMOON Tokens in connection
     6 with the March 2021 launch, in violation of Section 10(b) of the Exchange Act and
     7 Rule 10b-5 promulgated thereunder.
     8         Misrepresentations and Omissions
     9         303. Defendants’ untrue statements and omissions of material facts in
   10 connection with the sale of SAFEMOON Tokens include at least the following:
   11                a)    On March 19, 2021, in a now-deleted post on his official Twitter
   12 account, Phillips publicly stated: “I keep seeing #SafeMoon everywhere anyone
   13 know about it? Is it gonna pop? Or . . . has it got Big #Doge energy.”191 In order
   14 to make this statement not misleading Phillips was required to, but did not, disclose
   15 his connection to the Company and that the “buzz” about SafeMoon manufactured
   16 by Defendants themselves instead of being naturally created by investor interest.
   17                b)    On March 21, 2021, the Company released a statement via its
   18 official Twitter account, stating that 841,685,253,836 SAFEMOON Tokens “have
   19 been burnt in the last 24 hours alone. That’s over 800 billion tokens permanently
   20 removed from the circulating supply!” By stressing the “burn” of the SAFEMOON
   21 Token supply in a short period of time, the Company purposefully suggested to
   22 investors that the value of SAFEMOON Token would increase as more
   23 SAFEMOON Tokens are burned.             In this statement and thereafter, however,
   24 SafeMoon has never disclosed the details of the Company’s token burning protcols,
   25 which was material information. In order to make this statement not misleading,
   26 Defendants were obligated to (but did not) disclose that the Company could change
   27
         191
   28          See    https://www.reddit.com/r/SafeMoon/comments/m8mjpk/safemoon_
         tweet_by_ben_phillips_benphillipsuk/ (last visited Feb. 16, 2022).
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     1 the burn rate at will, thus there was no guarantee to investors that the supply of
     2 SAFEMOON Tokens would continue to depreciate from tokens being burned.
     3               c)    On March 22, 2021, the Company announced that “over 1.1
     4 trillion tokens [were] permanently removed from the circulating supply” and that
     5 this amount of tokens were “burnt in the last 24 hours alone. By stressing the “burn”
     6 of the SAFEMOON Token supply in a short period of time, the Company
     7 purposefully suggested to investors that the value of SAFEMOON Token would
     8 increase as more SAFEMOON Tokens are burned. In this statement and thereafter,
     9 however, SafeMoon has never disclosed the details of the Company’s token burning
   10 protcols, which was material information. In order to make this statement not
   11 misleading, Defendants were obligated to (but did not) disclose that the Company
   12 could change the burn rate at will, thus there was no guarantee to investors that the
   13 supply of SAFEMOON Tokens would continue to depreciate from tokens being
   14 burned.
   15                d)    On March 27, 2021, Paul, speaking on behalf of the Company,
   16 promoted SAFEMOON in a tweet stoking investors’ fear of missing out on the next
   17 big thing (i.e., SAFEMOON Tokens).            In order to make this statement not
   18 misleading, Defendants were obligated to disclose that (1) Paul was a paid promotor
   19 working for the Company and (2) Paul was paid in SAFEMOON Tokens and could
   20 (and did) sell those tokens immediately with no restrictions.
   21                e)    On March 29, 2021, McCollum, speaking on behalf of the
   22 Company, promoted SAFEMOON in a tweet that suggested that the SAFEMOON
   23 Token would be just as profitable for investors as another more-popular token: Doge
   24 coin. In order to make this statement not misleading, Defendants were obligated to
   25 disclose that (1) McCollum was a paid promotor working for the Company and
   26 (2) McCollum was paid in SAFEMOON Tokens and could (and did) sell those
   27 tokens immediately with no restrictions.
   28
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     1               f)    On March 31, 2021, McCollum, speaking on behalf of the
     2 Company, promoted SAFEMOON in a tweet repeateding “SAFEMOON” over and
     3 over again in an attempt to generate sales of the SAFEMOON Tokens. In order to
     4 make this statement not misleading, Defendants were obligated to disclose that
     5 (1) McCollum was a paid promotor working for the Company and (2) McCollum
     6 was paid in SAFEMOON Tokens and could (and did) sell those tokens immediately
     7 with no restrictions.
     8               g)    On April 3, 2021, the Company announced that 396 trillion
     9 SAFEMOON Tokens were “burnt” and “gone.” That same day, Karony, speaking
   10 as the Company’s CEO, reposted the token announcement on his personal Twitter
   11 account and noted in the caption that the supply of SAFEMOON Tokens would
   12 receive “continual burns” and that the price of the SAFEMOON Tokens was at an
   13 all-time high (“ATH”) and would be going to the “moon” imminently. By stressing
   14 the “burn” of the SAFEMOON Token supply in a short period of time, the Company
   15 and Karony purposefully suggested to investors that the value of SAFEMOON
   16 Token would increase as more SAFEMOON Tokens are burned. In this statement
   17 and thereafter, however, SafeMoon has never disclosed the details of the Company’s
   18 token burning protocols, which was material information. In order to make this
   19 statement not misleading, Defendants were obligated to (but did not) disclose that
   20 the Company could change the burn rate at will, thus there was no guarantee to
   21 investors that the supply of SAFEMOON Tokens would continue to depreciate (and,
   22 in turn, increase the scarcity and value of the SAFEMOON Tokens) from “continual
   23 burns.”
   24                h)    On April 7, 2021, the Company’s official Twitter account posted
   25 a video update from Karony, wherein he stated, among other things, that the
   26 Company’s developers were using the “most innovative” features for the exchange.
   27 In order to make this statement not misleading, Defendants were obligated to (but
   28 did not) disclose that the Company had no intention of creating innovations for the
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     1 SafeMoon exchange or wallet but rather planned on (and did) using a copied version
     2 of existing smart contracts and cryptocurrency coding.
     3               i)    On April 8, 2021, the Company, and Karony speaking on the
     4 Company’s behalf, stated: “400 TRILLON TOKENS BURNT GONE! NEVER
     5 COMING BACK.” By stressing the “burn” of the SAFEMOON Token supply in a
     6 short period of time, the Company purposefully suggested to investors that the value
     7 of SAFEMOON Token would increase as more SAFEMOON Tokens are burned.
     8 In this statement and thereafter, however, SafeMoon has never disclosed the details
     9 of the Company’s token burning protocols, which was material information. In order
   10 to make this statement not misleading, Defendants were obligated to (but did not)
   11 disclose that the Company could change the burn rate at will, thus there was no
   12 guarantee to investors that the supply of SAFEMOON Tokens would continue to
   13 depreciate from tokens being burned.
   14                j)    On April 17, 2021, Way, speaking on behalf of the Company,
   15 stated on his personal Twitter account that he had a public wallet address for
   16 SAFEMOON Tokens, signaling to investors that Way was investing his own money
   17 into SAFEMOON Tokens.            In order to make this statement not misleading,
   18 Defendants were obligated to disclose that (1) Way was a paid promotor working
   19 for the Company and (2) Way was paid in SAFEMOON Tokens and could (and did)
   20 sell those tokens immediately with no restrictions.
   21                k)    On April 17, 2021, Carter, speaking on behalf of the Company,
   22 disseminating a video of a rocket heading to the moon with the caption: “It’s time
   23 for blastoff #SAFEMOON.” Carter also photoshopped a picture of his face in the
   24 window of the rocket, implying to investors that he is onboard with the SafeMoon
   25 “rocket.” At the end of the video, it shows the number of SAFEMOON Tokens
   26 increasing from “500k holders” to “500,001 holders,” further indicating that Carter
   27 was investing his own money into SAFEMOON Tokens. In order to make these
   28 statements not misleading, Defendants were obligated to disclose that (1) Carter was
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     1 a paid promotor working for the Company and (2) Carter was paid in SAFEMOON
     2 Tokens and could (and did) sell those tokens immediately with no restrictions.
     3               l)    On April 18, 2021, Witriol, speaking on behalf of the Company,
     4 posted a screenshot that showed the hashtag “#SAFEMOON” was trending in
     5 California and stated in the caption to that post: “This is only in California” and
     6 “#safemoonisthenewdoge coin.” In order to make these statements not misleading,
     7 Defendants were obligated to disclose that (1) SafeMoon’s popularity specifically in
     8 California was not organically created (as suggested by Witriol) but rather
     9 artificially manufactured by Witriol himself and the other Defendants; and (2) the
   10 comparison to the heavily-traded Dogecoin was not based on any measurable
   11 similarities but rather it was simply meant to have investors believe that the
   12 SAFEMOON Token would be just as profitable for investors as Dogecoin.
   13                m)    On April 21, 2021, the Company and Haines-Davies stated in
   14 response to a drop in the price of the SAFEMOON Tokens: “That wasn’t a dip today
   15 . . . we went back to earth for a bigger rocket and more passengers.” In order to
   16 make these statements not misleading, Defendants were obligated to disclose that
   17 they were responsible for the downward selling pressure on the SAFEMOON
   18 Tokens and, as a result, that investors would be unable to receive any return on
   19 investment.
   20                n)    On April 21, 2021, the Company stated on its official Twitter
   21 account that SafeMoon was going to lock up $250 million of the SafeMoon liquidity
   22 pool. That same day, Karony stated: “We are locking away the current LP, which is
   23 a quarter of a billion+ dollars worth of tokens. In order to make that statement not
   24 misleading at the time, Defendants were obligated to disclose that Karony and the
   25 Executive Defendants had not, in truth, locked the liquidity pool but were instead
   26 using the funds in the liquidity pool for non-business/personal purchases and
   27 expenses. Months later, on June 2, 2021, Arriaga admitted that the liquidity pool
   28 was not locked.
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     1              o)    On May 16, 2021, Karony, speaking on behalf of the Company,
     2 stated that SafeMoon was in “ongoing conversations about SafeMoon” with
     3 Gambia’s “Ambassador at-Large, Sankung Jawara, who has done the initial vetting
     4 of Safemoon.” Karony further stated that SafeMoon would be used as “another tool
     5 in [Gambia’s] forward-leaning, innovative efforts.”      In order to make these
     6 statements not misleading, Defendants were obligated to disclose that the Company
     7 was not in any meaningful discussions with the Gambian government about
     8 implementing SafeMoon into the country’s financial system but instead that the
     9 meeting with Gambia’s “Ambassador at-Large” was just a meet and greet that was
   10 arranged by Karony’s parents in order to give the appearance of authenticity to
   11 investors.
   12               p)    On May 24, 2021, Arriaga, operating on behalf of the Company,
   13 created the “FUD Hound” account on YouTube and published videos “debunking”
   14 and “exposing” critics of SAFEMOON. In particular, Arriaga posted six videos to
   15 the FUD Hound channel on the following dates: (1) May 24, 2021; (2) May 28, 2021;
   16 (3) June 2, 2021; (4) June 7, 2021; (5) June 13, 2021; (6) and June 21, 2021. Each
   17 one of these videos contains misleading statements about SafeMoon’s growth
   18 prospects, the safety and functionality of SafeMoon’s technology, the Hashex audit’s
   19 findings, and the timing of milestones for the Company, etc. In order to make these
   20 videos as a whole, and the statements made therein, not misleading, the Company
   21 was obligated to disclose that Arriaga was working on behalf of the Company at the
   22 time these videos were made and released.
   23               q)    On June 1, 2021, the Company published a photo of puppies with
   24 SafeMoon badges photoshopped on, with accompanying text that read: “No rug pulls
   25 here.” In order to make this post not misleading, the Company was obligated to
   26 disclose that (1) many of the Executive Defendants, including, but not limited to
   27 Nagy, Smith, Haines-Davies, and Wyatt, as well as the Promotor Defendants had
   28 already sold off some or all of their SAFEMOON Token holdings when the trading
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     1 volume was artificially inflated between March 2021 and May 2021, and (2) without
     2 continued artificially pumping of the volume, the SAFEMOON Tokens price would
     3 never recover, leaving investors stuck holding worthless tokens that no one wants to
     4 buy.
     5               r)    On June 5, 2021, Witriol, speaking on behalf of the Company,
     6 stated that there was a “low chance of a rug pull” of the SAFEMOON Tokens
     7 because Karony would “lose his credentials” with the U.S. Department of Defense.
     8 In order to make this post not misleading, the Company was obligated to disclose
     9 that (1) many of the Executive Defendants, including, but not limited to Nagy,
   10 Smith, Haines-Davies, and Wyatt, as well as the Promotor Defendants had already
   11 sold off some or all of their SAFEMOON Token holdings when the trading volume
   12 was artificially inflated between March 2021 and May 2021, and (2) without
   13 continued artificially pumping of the volume, the SAFEMOON Tokens price would
   14 never recover, leaving investors stuck holding worthless tokens that no one wants to
   15 buy.
   16                s)    On June 7, 2021, Karony, speaking on behalf of the Company,
   17 stated that the Company had “identified glaring security gaps with a lot of wallet
   18 providers” and was in the process of “integrating game changing encryption into the
   19 wallet.” Karony further stated that, “The SafeMoon wallet will be one of / if not the
   20 strongest wallets on the market. #SAFEMOON is the #Evolution! In order to make
   21 these statements not misleading, Defendants were obligated to (but did not) disclose
   22 that (1) the Company had no intention of creating innovations for the SafeMoon
   23 wallet that would make it safer or have better encryption than other pre-existing
   24 wallets; (2) the Company intended to (and did) use a copied version of existing
   25 wallets with no additional security features; and (3) that the Company used the
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     1 SafeMoon wallet to collect investors’ personal data without first obtaining informed
     2 consent.192
     3               t)    On June 11, 2021, Karony, speaking on behalf of the Company,
     4 stated that the Company was “smashing out our internal deadlines.” Karony also
     5 hinted at imminent release dates for promised features for “the Wallet, exchange and
     6 more importantly Operation Pheonix.” In order to make these statements not
     7 misleading, Defendants were obligated to (but did not) disclose that (1) the
     8 Company, up to that point, had made little (if any) progress with developing the
     9 SafeMoon wallet (much less the innovative, military-grade encrypted wallet that
   10 Karony promised) or exchange and (2) that this lack of progress would delay to
   11 promised launch date for the wallet and exchange.
   12                u)    On June 13, 2021, Karony, speaking on behalf of the Company,
   13 stated that Smith was “involved with the Doge Coin x SpaceX partnership.” In order
   14 to make these statements not misleading, Defendants were obligated to (but did not)
   15 disclose that (1) the Smith’s so-called involvement was merely serving as the
   16 moderator for the Doge coin Facebook account Company, and not in any leadership
   17 or developer roles, and (2) Smith had no direct contact or relationship with Elon
   18 Musk or Space X.
   19                v)    On August 14, 2021, the Company stated that the “Full Launch”
   20 of the SafeMoon Wallet would occur on August 28, 2021 and that the wallet would
   21 be “available on Android and iOS.”         In order to make these statements not
   22 misleading, Defendants were obligated to (but did not) disclose that (1) the lack of
   23 progress with the development of the SafeMoon wallet would likely (and did) delay
   24 its “full launch” beyond August 28, 2021, and (2) the SafeMoon wallet would not
   25 be available on both Android and iOS at the time of launch.
   26
   27
         192
            Upon information and belief, the Company is, without consent, using this
   28 information to identify investors for targeted marketing for SafeMoon’s financial
      products and/or selling their investors’ personal data to third-party purchasers.
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     1               w)     On August 19, 2021 and August 24, 2021, Karony, speaking on
     2 behalf of the Company, stated: “Looking forward to #SAFEMOONWALLET
     3 launch on August 28th!” In order to make these statements not misleading,
     4 Defendants were obligated to (but did not) disclose that the lack of progress with the
     5 development of the SafeMoon wallet would likely (and did) delay its “full launch”
     6 beyond August 28, 2021.
     7               x)     On November 22, 2021, Way, speaking on behalf of the
     8 Company, stated: “Safemoon just tweeted about WAGMI. Don’t miss the rocket.”
     9 In order to make this statement not misleading, Defendants were obligated to
   10 disclose that (1) Way was a paid promotor working for the Company and (2) Way
   11 was paid in SAFEMOON Tokens and could (and did) sell those tokens immediately
   12 with no restrictions.
   13                y)     On December 12, 2021, Karony, speaking on behalf of the
   14 Company, stated: “Shoutout to our brilliant community, the product team and all
   15 #SAFEMOON employees for all the hard work these past 9 months, looking forward
   16 to the next 9 of evolution. Always out front! #SAFEMOONV2 is the #Evolution.”
   17 Karony also posted some frequently asked questions about the V2 Migration and
   18 provided answers on the Company’s behalf. In order to make these statements not
   19 misleading, Defendants were obligated to disclose that the primary purpose of the
   20 V2 migration was not due to purported technological innovations by the Company’s
   21 “team” but rather it was purposefully designed as a vehicle to extract value from
   22 investors and transfer that to the Company and Karony
   23         Materiality
   24         304. The forgoing misrepresentations and omissions were each material.
   25         305. These misrepresentations and omissions related to (i) the extent to
   26 which the Defendants and other insiders were restricted from selling substantial
   27 amounts of SAFEMOON Tokens on crypto-asset exchanges in the weeks
   28 immediately following the March 2021 launch; (ii) the extent to which Defendants
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     1 and its insiders intended to sell their SAFEMOON Token holdings over that same
     2 period; and (iii) the extent to which Defendants and its insiders did in fact sell
     3 substantial amounts of their SAFEMOON Tokens crypto-asset exchanges over that
     4 same period.
     5        306. Information regarding whether approximately the founders and
     6 Company executives could, intended to, and did sell their SAFEMOON Tokens, as
     7 Defendants’ own public statements illustrate, are material — and they had a
     8 significant impact on the market price and trading volume for SAFEMOON Tokens.
     9        307. If a reasonable investor knew that SafeMoon and its insiders
   10 collectively could and intended to sell a substantial percentage of the SAFEMOON
   11 Tokens that had been issued on and immediately following March 8, 2021 launch,
   12 then that investor would reasonably expect the price of SAFEMOON Tokens to be
   13 significantly lower than if Defendants could not or did not intend to sell their
   14 SAFEMOON Tokens on and immediately following the launch date. Indeed,
   15 Defendants’ assurances that were continuing to hold their SAFEMOON Tokens
   16 reflect these Defendants’ own admission of their materiality. Accordingly, there is
   17 a substantial likelihood that the disclosure of the omitted facts would have been
   18 viewed by the reasonable investor as having significantly altered the “total mix” of
   19 information made available.
   20         Scienter
   21         308. Defendants acted with scienter in engaging in the forgoing misconduct,
   22 in that they either had actual knowledge of the misrepresentations and omissions of
   23 material facts set forth herein, or acted with reckless disregard for the truth in that
   24 they failed to ascertain and to disclose such facts, even though such facts were
   25 available to them.
   26         309. Defendants knew before the March 2021 launch that any applicable
   27 vesting periods would not preclude the Executive Defendants or their friends and
   28 family dumping massive quantities of SAFEMOON Tokens on the market and
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     1 SafeMoon intended to transfer billions of the newly issued SAFEMOON Tokens to
     2 project insiders, and that it, along with those insiders, intended to dump tens of
     3 millions of these tokens on crypto-asset exchanges, such that SafeMoon and its
     4 insiders intended to profit massively from the offering, while outside investors
     5 would be precluded from doing so.
     6        310. Indeed, Defendants necessarily knew what restrictions were imposed
     7 on their own tokens, as well as the tokens that they issued and allocated to current
     8 and former team members, and to outside investors. These Defendants likewise
     9 knew that they, along with current and former team members, held a significant
   10 amount of the total SAFEMOON Token supply in circulation, and that if that portion
   11 of the Float were sold, the price of SAFEMOON Tokens would likely collapse. It
   12 was thus highly unreasonable for Defendants to conceal information relating to
   13 selling restrictions imposed on their and their insiders’ tokens.
   14         311. Defendants’ failure to disclose such information, coupled with their
   15 imposition of various taxes on transactions on outside investors but not on
   16 themselves as well as undisclosed use of the Promotor Defendants to marketing
   17 SAFEMOON Tokens to unsuspecting investors, demonstrates that these Defendants
   18 intended that they and their insiders would sell substantial amounts of SAFEMOON
   19 Tokens at significant profits high the price was artificially inflated on and during the
   20 weeks and months that followed the March 2021 launch.               These Defendants
   21 executed on that plan, too, by (along with current and former team members) selling
   22 trillions of SAFEMOON Tokens on the market during that period.
   23         312. Defendants knew that they had sold SAFEMOON Tokens on the
   24 market on and in the months that followed March 8, 2021. They likewise know that
   25 their current and former team members sold SAFEMOON Tokens: in addition to
   26 stating that such individuals had sold, these Defendants know which SAFEMOON
   27 TOKENS they allocated to team members and can therefore track the transaction
   28 history of that SAFEMOON TOKENS on the blockchain.
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     1        313. Defendants had the motive not to disclose these facts because such
     2 disclosure would have been self-defeating — it would have massively lowered the
     3 offering price of the SAFEMOON Tokens and thus effectively precluded SafeMoon
     4 and its insiders from generating the profit they subsequently made. Defendants had
     5 the opportunity thus to generate ill-gotten gains because they controlled the
     6 distribution of the SAFEMOON Tokens to themselves and their insiders and the
     7 extent to which any restrictions would be placed on such tokens.
     8        Reliance, Economic Loss, and Loss Causation
     9        314. As a result of the publication and dissemination of the materially false
   10 and misleading information and failure to disclose material facts, as set forth above,
   11 the price of the SAFEMOON Tokens upon issuance on March 8, 2021, and for a
   12 period of time thereafter, was artificially inflated.
   13         315. In ignorance of the fact that the price of SAFEMOON Tokens was
   14 artificially inflated, and relying directly or indirectly on the false, misleading, and
   15 materially incomplete statements that Defendants made and approved, or upon the
   16 integrity of the market in which the SAFEMOON Tokens were sold, or on the
   17 absence of material adverse information that these Defendants knew or recklessly
   18 should have known of but failed to disclose in public statement, Plaintiff and the
   19 other Class members acquired SAFEMOON Tokens at artificially high prices and
   20 were damaged thereby.
   21         316. As a direct and proximate result of Defendants’ wrongful conduct,
   22 Plaintiff and the other Class members suffered damages in connection with the
   23 respective purchases of SAFEMOON Tokens and are entitled to an award
   24 compensating them for such damages.
   25         317. Indeed, the price of SAFEMOON TOKENS dropped significantly as
   26 Defendants disclosed, and the market discovered, the truth concerning the
   27 SAFEMOON project and its prospects. For example, following the release of the
   28 HashEX report on May 22, 2021, the price of SafeMoon tokens dropped
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     1 approximately 30% from an opening of $0.00000568 on May 22, 2021 to a close of
     2 $0.00000396 on May 23, 2021. Furthermore, the price of SAFEMOON TOKENS
     3 went from a high of $0.00000355 on August 28, 2021 in advance of the Wallet
     4 Release to a low of $0.00000119 on September 10, 2021 in the wake of the failed
     5 wallet launch and executive departures.
     6        318. On December 31, 2021, the price of the SAFEMOON Token hit a low
     7 of $0.0000006521 per token, an over 80% drop from its height during the Class
     8 Period, which it has not been able to recover.
     9        319. In addition, as a direct and proximate result of Defendants’ wrongful
   10 conduct, SafeMoon has generated and retained ill-gotten in connection with the
   11 March 2021 launch of SAFEMOON Tokens, such that Plaintiff and the other Class
   12 members are entitled to the disgorgement of SafeMoon’s ill-gotten gain from such
   13 misconduct.
   14                            SECOND CAUSE OF ACTION
   15                   Unregistered Offering and Sale of Securities in
                    Violation of Sections 5 and 12(a)(1) of the Securities Act
   16                               (Against All Defendants)
   17         320. Plaintiff restates and realleges all preceding allegations above as if fully
   18 set forth herein.
   19         321. Plaintiff, on behalf of herself and all others similarly situated, realleges
   20 and incorporates herein by reference each and every allegation contained in the
   21 preceding paragraphs of this complaint, and further alleges as follows:
   22         322. Defendants, and each of them, by engaging in the conduct described
   23 above, directly or indirectly, made use of means or instruments of transportation or
   24 communication in interstate commerce or of the mails, to offer to sell or to sell
   25 securities, or to carry or cause such securities to be carried through the mails or in
   26 interest commerce for the purpose of sale or for delivery after sale.
   27         323. SAFEMOON Tokens are securities within the meaning of Section
   28 2(a)(1) of the Securities Act, 15 U.S.C. §77b(a)(1).
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     1        324. Plaintiff and members of the Class purchased SAFEMOON Token
     2 securities.
     3        325. No registration statements have been filed with the SEC or have been
     4 in effect with respect to any of the offerings alleged herein. No exemption to the
     5 registration requirement applies.
     6        326. SEC Rule 159A provides that, for purposes of Section 12(a)(2), an
     7 “issuer” in “a primary offering of securities” shall be considered a statutory seller.
     8 17 C.F.R. §230.159A(a). The Securities Act in turn defines “issuer” to include every
     9 person who issues or proposes to issue any security. 15 U.S.C. §77b(a)(4). Dfinity
   10 is an issuer of SAFEMOON Tokens.
   11         327. The U.S. Supreme Court has held that statutory sellers under §12(a)(1)
   12 also include “the buyer’s immediate seller” and any person who actively solicited
   13 the sale of the securities to plaintiff and did so for financial gain. See Pinter v. Dahl,
   14 486 U.S. 622, 644 n.21 & 647 (1988); accord, e.g., Steed Finance LDC v. Nomura
   15 Sec. Int’l, Inc., No. 00 Civ. 8058, 2001 WL 1111508, at *7 (S.D.N.Y. Sept. 20,
   16 2001). That is, §12(a)(1) liability extends to sellers who actively solicit the sale of
   17 securities with a motivation to serve their own financial interest or those of the
   18 securities owner. Pinter, 486 U.S. at 647; Capri v. Murphy, 856 F.2d 473, 478 (2d
   19 Cir. 1988). Dfinity and the Controlling Defendants are all statutory sellers.
   20         328. By reason of the foregoing, each of the Defendants have violated
   21 Sections 5(a), 5(c), and 12(a) of the Securities Act, 15 U.S.C. §§77e(a), 77e(c), and
   22 771(a).
   23         329. As a direct and proximate result of Defendants’ unregistered sale of
   24 securities, Plaintiff and the Class have suffered damages in connection with their
   25 ICP purchases.
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     1                            THIRD CAUSE OF ACTION
     2                   Violation of Sections 15 of the Securities Act
                       (Against SafeMoon and the Executive Defendants)
     3
     4        330. Plaintiff, on behalf of herself and all others similarly situated, realleges
     5 and incorporates herein by reference, each and every allegation contained in the
     6 preceding paragraphs of this Complaint, and further alleges as follows:
     7        331. This Count is asserted against the Company and the Executive
     8 Defendants (collectively, the “Control Person Defendants”) under Section 15 of the
     9 Securities Act, 15 U.S.C. §77o.
   10         332. The Control Person Defendants, by virtue of their offices, ownership,
   11 agency, agreements or understandings, and specific acts were, at the time of the
   12 wrongs alleged herein, and as set forth herein, controlling persons within the
   13 meaning of Section 15 of the Securities Act. The Control Person Defendants, and
   14 each of them, had the power and influence and exercised the same to cause the
   15 unlawful offer and sale of SAFEMOON Tokens securities as described herein.
   16         333. The Control Person Defendants, separately or together, possess,
   17 directly or indirectly, the power to direct or cause the direction of the management
   18 and policies of SafeMoon, through ownership of voting securities, by contract,
   19 subscription agreement, or otherwise.
   20         334. The Control Person Defendants also have the power to direct or cause
   21 the direction of the management and policies of SafeMoon.
   22         335. The Control Person Defendants, separately or together, have sufficient
   23 influence to have caused SAFEMOON Tokens and/or the Company to submit a
   24 registration statement.
   25         336. The Control Person Defendants, separately or together, jointly
   26 participated in SafeMoon’s failure to register SAFEMOON Tokens.
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     1        337. By virtue of the conduct alleged herein, the Control Person Defendants
     2 are liable for the wrongful conduct complained of herein and are liable to Plaintiff
     3 and the Class for rescission and/or damages suffered.
     4                           FOURTH CAUSE OF ACTION
     5                                Aiding and Abetting
                                    California Common Law
     6                           (Against Promoter Defendants)
     7        338. Plaintiff restates and realleges all preceding allegations above as if fully
     8 set forth herein.
     9        339. Under California law, aiding and abetting requires not agreement, but
   10 simply assistance. The elements of aiding and abetting liability have cited the
   11 elements of the tort, as they are set forth in the RESTATEMENT (SECOND) OF TORTS
   12 §876, and have omitted any reference to an independent duty on the part of the aider
   13 and abettor.
   14         340. Under California law, “[l]iability may . . . be imposed on one who aids
   15 and abets the commission of an intentional tort if the person (a) knows the other’s
   16 conduct constitutes a breach of duty and gives substantial assistance or
   17 encouragement to the other to so act or (b) gives substantial assistance to the other
   18 in accomplishing a tortious result and the person’s own conduct, separately
   19 considered, constitutes a breach of duty to the third person.” Neilson v. Union Bank
   20 of Cal., N.A., 290 F. Supp. 2d 1101, 1118 (C.D. Cal. 2003) (citations omitted).
   21         341. “Unlike a conspirator, an aider and abettor does not ‘adopt as his or her
   22 own’ the tort of the primary violator. Rather, the act of aiding and abetting is distinct
   23 from the primary violation; liability attaches because the aider and abettor behaves
   24 in a manner that enables the primary violator to commit the underlying tort.” Id.
   25         342. The Promoter Defendants have previous knowledge and experience
   26 with making misleading promotional statements (with Defendant Mayweather
   27 having nearly an identical experience with a previous fraudulent cryptocurrency
   28 promotion), and, as such, knew or should have known that the marketing strategy
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     1 employed by the Executive Defendants for the SAFEMOON Tokens was unlawful,
     2 deceitful, fraudulent, and/or violated the terms of the California, Florida, and New
     3 York state statutes described in this Complaint.
     4        343. By promoting the SAFEMOON Tokens on their social media platforms
     5 and through their reported conduct, the Promotor Defendants provided assistance
     6 that was a substantial factor causing the SAFEMOON Token price to both surge and
     7 do so long enough to allow all Defendants to sell their SAFEMOON Tokens for
     8 huge profits at the expense of their followers and investors. Without the help of the
     9 Promoter Defendants’ activities, the Executive Defendants would have been unable
   10 to use the misleading marketing strategy devised by Haines-Davies, Arriaga, and
   11 Witriol, and Defendants would not have been able to commit the violations of
   12 California state consumer protection statutes alleged herein.
   13         344. As a direct and proximate result of Promotor Defendants’ unlawful,
   14 unfair, and deceptive practices, Plaintiff and Class members suffered damages. The
   15 Executive Defendants’ activities with the Promoter Defendants caused Plaintiff and
   16 the Class members to purchase and/or hold the SAFEMOON Tokens when they
   17 otherwise would not have done so.
   18         345. Plaintiff seeks to enjoin further unlawful, unfair, and/or fraudulent acts
   19 or practices by SafeMoon, to obtain monetary damages, restitution and disgorgement
   20 of all monies generated as a result of such practices, and for all other relief allowed
   21 under California law.
   22                             FIFTH CAUSE OF ACTION
   23                            Unjust Enrichment/Restitution
                          (California Common Law, in the Alternative)
   24                               (Against All Defendants)
   25         346. Plaintiff restates and realleges all preceding allegations above as if fully
   26 set forth herein.
   27         347. Plaintiff and members of the Class conferred a monetary benefit on
   28 Defendants by raising the price and trading volume of the SAFEMOON Tokens,
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     1 which allowed Defendants to sell their SAFEMOON Tokens to Plaintiff and Class
     2 members at inappropriately and artificially inflated prices.
     3        348. Defendants received a financial benefit from the sale of their
     4 SAFEMOON Tokens at inflated prices and are in possession of this monetary value
     5 that was intended to be used for the benefit of, and rightfully belongs to, Plaintiff
     6 and members of the Class.
     7        349. Plaintiff seeks restitution in the form of the monetary value of the
     8 difference between the purchase price of the SAFEMOON Tokens and the price
     9 those SAFEMOON Tokens sold for.
   10                                PRAYER FOR RELIEF
   11         WHEREFORE, Plaintiff, individually, and on behalf of all others similarly
   12 situated, respectfully requests that this Court:
   13         A.     Determine that the claims alleged herein may be maintained as a class
   14 action under Rule 23 of the Federal Rules of Civil Procedure, and issue an order
   15 certifying one or more of the Classes defined above;
   16         B.     Appoint Plaintiff as a representative of the Class and her counsel as
   17 Class counsel;
   18         C.     Declare that the Company and Executive Defendants offered and sold
   19 unregistered securities in violation of Sections 5(a), 12(a), and 15 of the Securities
   20 Act;
   21         D.     Award all actual, general, special, incidental, statutory, rescission,
   22 punitive, and consequential damages and restitution to which Plaintiff and the Class
   23 members are entitled;
   24         E.     Award post-judgment interest on such monetary relief;
   25         F.     Grant appropriate injunctive and/or declaratory relief;
   26         G.     Award reasonable attorneys’ fees and costs; and
   27         H.     Grant such further relief that this Court deems appropriate.
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     1                                    JURY DEMAND
     2         Plaintiff, individually, and on behalf of the putative Class, demands a trial by
     3 jury on all issues so triable.
     4 DATED: March 7, 2022              SCOTT+SCOTT ATTORNEYS AT LAW LLP
     5                                   s/ John T. Jasnoch
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